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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
 ____________________________________________
 UNITED STATES OF AMERICA ex rel. AZAM
 RAHIMI, STATE OF CALIFORNIA ex rel.
 AZAM RAHIMI, STATE OF COLORADO ex rel.
 AZAM RAHIMI, STATE OF CONNECTICUT ex
 rel. AZAM RAHIMI, STATE OF DELAWARE
 ex rel. AZAM RAHIMI, DISTRICT OF             3rd AMENDED COMPLAINT
 COLUMBIA ex rel. AZAM RAHIMI, STATE OF       CIVIL ACTION NO. 11-11940
 GEORGIA ex rel. AZAM RAHIMI, STATE OF        (Judge Stephen J. Murphy)
 INDIANA ex rel. AZAM RAHIMI, STATE OF        (Magistrate Judge Mark A. Randon)
 LOUISIANA ex rel. AZAM RAHIMI, STATE OF
 MASSACHUSETTS ex rel. AZAM RAHIMI,
 STATE OF MICHIGAN ex rel. AZAM RAHIMI,
 STATE OF NEVADA ex rel. AZAM RAHIMI,
 STATE OF NEW JERSEY ex rel.
 AZAM RAHIMI, STATE OF NEW YORK ex rel.
 AZAM RAHIMI, STATE OF NORTH
 CAROLINA ex rel. AZAM RAHIMI, STATE
 OF RHODE ISLAND ex rel. AZAM RAHIMI,
 STATE OF TENNESSEE ex rel. AZAM RAHIMI,
 STATE OF VIRGINIA ex rel. AZAM RAHIMI,
 and STATE OF WASHINGTON ex rel. AZAM
 RAHIMI.
                                              JURY TRIAL REQUESTED
                    Plaintiffs,

 v.

 RITE AID CORPORATION

                   Defendant.
 ____________________________________________

                        THIRD AMENDED COMPLAINT
                              (False Claims Act)
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                                   SUMMARY STATEMENT

        1.      This lawsuit involves hundreds of millions of dollars in false claims that the

 Defendant, Rite Aid Corporation (“Rite Aid”), has submitted to the federal Medicare Part D

 program, TRICARE (previously known as CHAMPUS), other federal programs such as the

 Federal Employee Health Benefits Plan (“FEHBP”), and the federal-state Medicaid programs in

 the plaintiff states of California, Colorado, Connecticut, Delaware, Georgia, Indiana, Louisiana,

 Massachusetts, Michigan, Nevada, New Jersey, New York, North Carolina, Rhode Island,

 Tennessee, Virginia, and Washington, in the plaintiff District of Columbia (collectively referred

 to herein as “the state plaintiffs”) and in the other states in which Rite Aid does business. This

 lawsuit also involves millions of dollars in false claims to New York’s Program for the Elderly.

        2.      When pharmacies bill for medications provided to enrollees in the Medicare Part

 D prescription drug benefit program, they bill private entities that are administering the program

 under contract with the United States Government, using funds provided or reimbursed by the

 United States. These private entities typically require pharmacies to bill no more than their usual

 and customary charge to the general public.

        3.      In each of the plaintiff states, and in the remaining states in which Rite Aid

 pharmacies are found, Medicaid billing rules have required pharmacies to charge Medicaid their

 usual and customary prices to the general public, taking into account any discounted prices that

 the pharmacy makes available to the general public.

        4.      New York State’s Program for Elderly Pharmaceutical Insurance Coverage has

 required pharmacies to charge the program no more than their “usual and customary charge to

 the general public, taking into consideration any quantity and promotional discounts to the




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 general public at the time of purchase.” NY CLS Elder § 250. The “usual and customary

 charge” billing rule has often been found in state health insurance program rules.

        5.      In knowing violation of the billing rules of Medicare Part D, Medicaid, and other

 federal and state health insurance programs that have required pharmacies to bill their “usual and

 customary charge to the general public,” since approximately September 2007, Rite Aid has

 charged the Medicare Part D program, Medicaid and these federal and state health insurance

 programs prices that significantly exceed the prices that Rite Aid has routinely offered customers

 through its “Rx Savings” discount program. For certain generic medications, the prices Rite Aid

 has charged these government health insurance programs have been six to twelve times greater

 than the prices Rite Aid has charged under its Rx Savings discount program.

        6.     Qui Tam Plaintiff Azam Rahimi (“Rahimi” or “Relator”), a pharmacist with an

 interest in public health policy, brings this civil action on behalf of and in the name of the United

 States of America (“United States”) under the qui tam provisions of the federal False Claims Act,

 31 U.S.C. §§ 3729-3733, and on behalf of and in the name of the state plaintiffs under analogous

 qui tam provisions in state false claims laws.

                                  JURISDICTION AND VENUE

        7.      All Counts of this Complaint are civil actions by Relator, acting on behalf of and

 in the name of the United States and the state plaintiffs, against the Defendant under the federal

 False Claims Act, 31 U.S.C. §§ 3729-3733, and analogous state false claims laws.

        8.      This Court has jurisdiction over the claims brought on behalf of the United States

 pursuant to 28 U.S.C. §§ 1331 and 1345, and 31 U.S.C. § 3732(a).




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         9.     This Court has supplemental jurisdiction over the claims brought on behalf of the

 state plaintiffs under 28 U.S.C. § 1367. In addition, the Court has jurisdiction over the state law

 claims alleged herein under 31 U.S.C. § 3732(b).

         10.    Defendant Rite Aid transacts business in this judicial district.       In addition,

 Defendant has violated the federal False Claims Act in this judicial district as a result of the

 misconduct alleged herein. Accordingly, this Court has personal jurisdiction over the Defendant,

 and venue is appropriate in this district. The False Claims Act provides that any action under 31

 U.S.C. § 3730 may be brought “in any judicial district in which . . . any one defendant can be

 found, resides, transacts business, or in which any act proscribed by section 3729 occurred.” 31

 U.S.C. § 3732(a). Venue is also proper under 28 U.S.C. § 1391.

         11.    None of the allegations set forth in this Complaint is based on a public disclosure

 of allegations or transactions in a criminal, civil or administrative hearing, in a congressional,

 administrative or General Accounting Office report, hearing, audit or investigation, or from the

 news media. Relator Azam Rahimi has direct and independent knowledge of the information on

 which the allegations set forth in this Complaint are based. Moreover, prior to filing this lawsuit

 and prior to any public disclosures regarding this matter, Relator voluntarily provided the

 information set forth herein to agents of the United States Department of Justice and the state

 plaintiffs.

                                          THE PARTIES

                                      Relator Azam Rahimi

         12.    Azam Rahimi was born in Elmhurst, NY, on January 29, 1983. In 2007, he

 received his doctorate in Pharmacy from St. John’s University in Jamaica, NY.                Upon

 graduation, he worked as a pharmacy intern and a pharmacist at Walgreens Pharmacy in New




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 York, NY, and Warrenton, VA. He left Walgreens in September 2009 to open an independent

 pharmacy in Woodbridge, VA. In November 2009, he also began working from his home for

 Medco Pharmacy, verifying prescriptions, performing drug utilization and interaction review and

 overseeing quality control. In August 2010, Relator closed his independent pharmacy in order to

 have more time for his Medco Pharmacy responsibilities. He left Medco in 2012, and since then

 has been employed as a pharmacist at Target Pharmacy, first in Woodbridge, VA and now in

 Alexandria, VA. CVS Pharmacy, Inc. acquired the Target pharmacies in 2016.

                                Plaintiff United States of America

        13.     Relator Azam Rahimi brings this action on behalf of the United States pursuant to

 the qui tam provisions of the federal False Claims Act, 31 U.S.C. § 3729 et seq.

        14.     The United States of America, acting through the Centers for Medicare and

 Medicaid Services (“CMS”) of the U.S. Department of Health & Human Services (“HHS”),

 oversees and provides the large majority of the funding to the Medicare Part D program, which is

 a voluntary prescription drug benefit program that is available to those eligible for Medicare, i.e.,

 those 65 years and older, the disabled and those with End Stage Renal Disease, who are willing

 to pay premium payments, co-insurance or co-payments, and accept other terms of the plan.

 CMS contracts with private insurance companies in order to provide Medicare Part D coverage

 to beneficiaries.

        15.     The United States of America, acting through CMS, oversees and reimburses the

 states for a portion of their expenditures for the joint federal-state Medicaid program. Medicaid,

 a health insurance program for the financially needy, was established under Title XIX of the

 Social Security Act, 42 U.S.C. § 1396 et seq., and state laws.




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        16.    The United States of America, acting through the Department of Defense,

 oversees and provides funding to the TRICARE program, 10 U.S.C. § 1071 et seq., which is a

 comprehensive health and prescriptions benefits plan for active duty and retired service members

 and their eligible beneficiaries. On behalf of the United States, Relator seeks to recover for

 damages resulting from false claims submitted to the Medicare Part D program and to the

 federal-state Medicaid drug benefit program.

                                         State Plaintiffs

        17.    Relator brings this action on behalf of the states of California, Colorado,

 Connecticut, Delaware, District of Columbia, Georgia, Indiana, Louisiana, Massachusetts,

 Michigan, Nevada, New Jersey, New York, North Carolina, Rhode Island, Tennessee, Virginia,

 and Washington. He brings this action under the qui tam provisions of the following false claims

 laws of the state plaintiffs: California False Claims Law, Cal. Gov. Code § 12650 et seq.;

 Colorado Medicaid False Claims Act, Col. Rev. Stat. § 25.5-4-303.5 et seq. (effective July 1,

 2010); Conn. Gen. Stat. § 17b-301d (2010); Delaware False Claims and Reporting Act, 6 Del.

 Code § 1201 et seq.; District of Columbia False Claims Act, D.C. Code § 2-381.01 et seq.;

 Georgia State False Medicaid Claims Act, Georgia Code, Title 49, Ch. 4, Art. 7B; Indiana False

 Claims & Whistleblower Protection Law, Ind. Code § 5-11-5.5.-1 et seq.; Louisiana’s Medical

 Assistance Programs Integrity Law, La. Rev. Stat. § 46:437.1 et seq.; Massachusetts False

 Claims Law, ALM Ch. 12 § 5A-0 et seq.; Michigan Medicaid False Claims Act, Mich. Code

 400.601 et seq.; Nevada’s False Claims Act, Nev. Rev. Stat. § 357.010 et seq.; New Jersey False

 Claims Act, N.J. Stat. § 2A:32C-1 et seq. (effective March 13, 2008); New York False Claims

 Act, NY Finance Law, Art. 13, § 187 et seq.; North Carolina’s False Claims Act, N.C. Gen. Stat.

 § 1-605 et seq. (effective January 1, 2010); Rhode Island False Claims Act, R.I. Gen. Laws § 9-




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 1.1-1 et seq. (2010); Tennessee Medicaid False Claims Act, Tenn. Code § 71-5-181 et seq.;

 Virginia Fraud Against Taxpayers Act, Va. Code § 8.01-216.1 et seq.; and Washington’s

 Medicaid Fraud False Claims Act, Wash. Code § 74.66.005 et seq. (effective June 7, 2012).

         18.    The state plaintiffs participate in the Medicaid program under which, under

 certain circumstances, they pay the costs of providing pharmaceutical drugs to indigent persons

 who are the beneficiaries of the program. The Medicaid program agencies of the state plaintiffs pay

 pharmacies for medications on behalf of Medicaid beneficiaries. The state plaintiffs then seek

 reimbursement for a portion of these expenditures from the federal government.

         19.    The state plaintiffs also independently fund other health insurance programs, such as

 New York’s Program for Elderly Pharmaceutical Insurance Coverage, that require pharmacies to

 charge the state program their “usual and customary charges” to the general public.

         20.    On behalf of the state plaintiffs, Relator seeks recovery for damages caused by the

 submission of false claims to state-funded health insurance programs, including but not limited

 to the federal-state Medicaid programs that are jointly funded by the United States and the state

 plaintiffs.

                                 Defendant Rite Aid Corporation

         21.    Defendant Rite Aid is the third largest retail drugstore chain in the United States,

 based on revenues and number of stores. In 2011, Rite Aid had 4,780 stores in 31 states and the

 District of Columbia. The company is headquartered in Camp Hill, PA, and incorporated in

 Delaware. In 2009, its revenues exceeded $25 billion, and in the fiscal year ending February 28,

 2015, its revenues exceeded $26 billion, with $18.1 billion of this amount attributable to sales of

 prescription medication. Rite Aid pharmacies dispense prescription medications in Michigan as

 well as in each of the other states named as plaintiffs herein.




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            MEDICAID AND MEDICARE PART D BILLING REQUIREMENT:
          “USUAL AND CUSTOMARY CHARGE TO THE GENERAL PUBLIC”

                            Medicaid Usual and Customary Requirement

        22.     As a condition of a state’s obtaining federal reimbursement for a portion of the

 state’s Medicaid expenditures, the federal government requires each state to comply with a

 number of specific requirements that are set forth in federal regulations. One of these federal

 requirements relates to the appropriate reimbursement for pharmaceutical drugs. The federal

 government will not reimburse a state for its Medicaid expenditures for prescription drugs unless

 the state complies with certain payment limits. To get federal reimbursement, the state must pay

 no more than the dispensing pharmacy’s “usual and customary charge to the general public” for

 the drug. 42 C.F.R. § 447.332(b).

        23.     To comply with the federal regulation described in the preceding paragraph, state

 Medicaid programs have enacted rules that require pharmacies to bill Medicaid no more than

 their “usual and customary charge to the general public” for prescription drugs. The states have

 enacted these rules in statutes, regulations and/or manuals that set forth instructions for

 pharmacies billing Medicaid. The states have required providers, including pharmacies, that bill

 Medicaid to certify that they will comply and are in compliance with Medicaid program rules

 and instructions.

       24.      Since October 2003, federal law has mandated that pharmacies submitting claims

electronically to Medicaid and all other payers use a standard claim format for electronic

transactions published by the National Council for Prescription Drug Programs (“NCPDP”), a

pharmaceutical industry group that has promoted standardization in the pharmaceutical industry

since 1977. See 45 C.F.R. § 162.1102(a)–(c) (adopting the NCPDP standard as the mandatory




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standard for retail pharmacy electronic drug claims under the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”)).

       25.     The NCPDP’s standard format includes a field for “usual and customary charge”

which the format’s instructions define to mean the “[a]mount charged cash paying customers for

the prescription exclusive of sales tax or other amounts claimed.”       See NCPDP Reference

Manual, Ch. 3, p. 72 (Rev. Oct. 2005), available at http://www.cms.gov/Medicare/Billing/

ElectronicBillingEDITrans/downloads/ NCPDPflatfile.pdf. The NCPDP designates this field as

“optional,” meaning that it must be filled out by the pharmacy only if required by the payer. See,

e.g., Arkansas Medicaid, NCPDP Payer Sheet Version D.0, at 16 (Oct. 18, 2011), available at

https://www.medicaid.state.ar.us/download/provider/hipaa/ncpdp_d0_payer.doc       (stating   that,

under the NCPDP Telecommunications Standard Implementation Guide, this field is “[r]equired

if needed per trading partner agreement”).

       26.     With the exception of California, the states in which Defendant has operated

stores require a pharmacy billing the state Medicaid program to complete the “usual and

customary” field in the standard NCPDP format so as to represent to Medicaid the “[a]mount

charged cash paying customers for the prescription exclusive of sales tax or other amounts

claimed.” See, e.g., Mississippi Medicaid Fee for Service, Request Claim Billing/Claim Rebill

(B1/B3) Payer Sheet, at 3 (August 2013), available at http://www.medicaid.ms.gov/wp-

content/uploads/2014/04/MS-NCPDP.pdf; New Jersey Medicaid, D.0/1.2 Payer Sheet, at 34

(October     2014),     available     at      http://www.njmmis.com/downloadDocuments/NJ_D-

0_NCPDP_Payer_Sheet.pdf; TennCare, TennCare D.0 Payer Specification, at 9 (Mar. 2013),

available at http://sites.magellanhealth.com/media/353755/tncpayerspec.pdf.     While California

doesn’t require completion of this field, it requires pharmacies to bill Medicaid a “Gross Amount




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 Due” field, which California defines as, “the combination of ingredient cost and dispensing fee

 that reflects the lower of (1) the lowest price reimbursed to the pharmacy by other third-party

 payers in California, excluding Medi-Cal managed care plans and Medicare Part D prescription

 drug plans and (2) the lowest price routinely offered to any segment of the general public.”

 California Department of Health Care Services, Pharmacy FAQs, available at https://files.medi-

 cal.ca.gov/pubsdoco/ncpdp/ncpdp_faq.asp.

           27.   The states that participate in Medicaid have referenced, and in some cases have

 defined, the term “usual and customary charge to the general public” (hereinafter referred to as

 the “usual and customary charge” or “U&C charge”) in statutes, rules and/or program manuals,

 so that pharmacies can understand how to compute their charges to Medicaid. The Medicaid

 Program of each state has required pharmacies to bill Medicaid no more than the price that the

 pharmacy usually and customarily makes available to members of the general public, a term that

 necessarily includes Defendant’s Rx Savings Program price for generic medications.

                                            California

           28.   California’s Medicaid program (“Medi-Cal”) has defined the term “usual and

 customary charge” to be the lower of the following: “(1) The lowest price reimbursed to the

 pharmacy by other third-party payers in California, excluding Medi-Cal managed care plans and

 Medicare Part D prescription drug plans, (2) The lowest price routinely offered to any segment

 of the general public.” Cal. Wel. & Inst. Code [Welfare and Institutions Code] § 14105.455

 (2009).

           29.   In California, regulations have been in effect since the 1960s that place similar

 limitations on the amount that pharmacies may bill to Medi-Cal for prescription drugs.

 Specifically, Title 22, California Code of Regulations, section 51480 prohibits pharmacies from




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 billing or submitting “a claim for reimbursement for the rendering of health care services to a

 Medi-Cal beneficiary in any amount greater or higher than the usual fee charged by the provider

 to the general public for the same service.” 22 Cal. Code Reg. § 51480. And, Title 22,

 California Code of Regulations, section 51501 prohibits pharmacies from charging the Medi-Cal

 program “for any service or any article more than would have been charged for the same service

 or article to other purchasers of comparable services or articles under comparable

 circumstances.” 22 Cal. Code Reg. § 51501. In Medi-Cal’s provider agreements, pharmacies

 participating in Medi-Cal have agreed as a “condition precedent to payment” to comply with all

 “federal laws and regulations governing and regulating Medicaid providers” and, specifically,

 with all of the billing and claims requirements in the California Welfare and Institutions Code

 and implementing regulations. See, e.g., DHCS Form 6208, Medi-Cal Provider Agreement, &&

 2, 25, and general agreement on p. 8 (rev. 2/08), available at https://files.medi-

 cal.ca.gov/pubsdoco/Publications/    masters-other/provappsenroll/02enrollment_DHCS6208.pdf

 (accessed June 18, 2016).     The instructions to the Medi-Cal pharmacy claim forms have

 instructed pharmacies to include their “usual and customary charge” in the “charge” field.

                                            Colorado

        30.     Through 2008, Colorado required pharmacies seeking reimbursement from

 Medicaid to bill Medicaid “the lesser of the provider’s usual and customary charge or any

 amount the provider will accept from any other third party program or from the public in the

 form of discounts, special rebates, incentives, or coupons.” 10 CCR § 2505-10, 8.800 (2008)

 (effective Jan. 1, 2006).

        31.     From 2009, Colorado has required pharmacies to bill Medicaid their “usual and

 customary charge,” a term the regulations defined as “the reimbursement amount the provider




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 charges the general public to pay for a drug.” 10 CCR § 2505-10, 8.800.1 (2016) (effective June

 30, 2009).

                                           Connecticut

        32.      Connecticut’s Medicaid regulations limit the amount that pharmacies may charge

 Medicaid for prescription drugs to “the average wholesale price per 100, pint or package, as

 indicated in the Red Book, plus the applicable professional fee, or the [estimated acquisition

 cost] plus the applicable professional fee, or the usual and customary charge to the general public

 whichever is lower.” Regs., Conn. State Agencies § 17-2-97 (eff. September 26, 1978).

       33.       Pursuant to the rules of the Connecticut Medicaid program (“Connecticut Medical

 Assistance Program”), “‘Usual and Customary Charge to the General Public’ has meant a charge

 which will be made for the particular prescription by the provider to the patient group accounting

 for the largest number of non-Medicaid prescriptions.” Provider Manual, Chapter 7 – Pharmacy

 (January 1, 2008), Section 174.A.XXI, p. 3, available at https://www.ctdssmap.com/CTPortal/

 Information/Publications/tabid/40/Default.aspx (accessed June 17, 2016). In a July 2010 Policy

 Transmittal, the state notified pharmacies participating in Connecticut’s Medical Assistance

 Program that:

                 a pharmacy provider enrolled in any medical assistance program
                 administered by the Department of Social Service, when billing the
                 department for a good or service, shall bill the department the
                 lowest amount accepted from any member of the general public
                 who participates in the pharmacy provider’s savings or discount
                 program.

                 . . . To comply with the law, pharmacies must charge the
                 department the lowest amount accepted from participants in the
                 applicable discount programs. This can be achieved by reporting
                 the lowest charge as the ‘usual and customary’ charge on the claim
                 submission. Pharmacies are also required to refund to the
                 department any excess payments received for claims billed from
                 May 7th forward that do not properly reflect the lowest charge.



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 PB10-42.

        34.     In the Connecticut Provider Enrollment Agreement, pharmacies have agreed that

 they will abide by the Connecticut Medical Assistance Program Manuals, that they will bill in

 accordance with the rates and amounts established by the Connecticut Medical Assistance

 Program and that they will immediately repay to the Connecticut Medical Assistance Program

 any excessive payments they receive. Provider Enrollment Agreement, Connecticut Department

 of Social Services, Health Care Financing, && 10, 13 and 32, available at www.ct.gov/dss/lib

 /dss/chcp/exhibit_1_dss-medicaid-provider-enrollment-agreement.doc (accessed June 18, 2016).

 The Connecticut Medical Assistance Program claim form has included a field for the provider’s

 “usual and customary charge.”

                                              Delaware

        35.     From at least 2007 through the current time, the Delaware Pharmacy Billing

 Manual has defined “usual and customary charge” as the “[a]mount charged cash customers for

 the prescription exclusive of sales tax or other amounts claimed.” Pharmacy Billing Manual,

 rev.   12/1/14,   §    2.3.2,   available   at   http://www.dmap.state.de.us/downloads/manuals/

 Pharmacy.Billing.pdf (accessed June 18, 2016).

                                        District of Columbia

        36.     The regulations of the Medicaid Program for the District of Columbia provide that

 “[p]harmacy claims for a community or retail pharmacy provider shall be reimbursed at the

 lower of” the “[t]he allowable cost, established pursuant to . . . , as appropriate, plus a dispensing

 fee of four dollars and fifty cents ($ 4.50) per prescription,” or “[t]he pharmacy’s usual and

 customary charge to the general public.” CDCR 29-2710.5(a)-(b) (eff. October 3, 2013).




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         37.   The pharmacy “payer sheet” in the D.C. Pharmacy Benefits Management

 Prescription Drug Claims System (X2) Provider Manual requires pharmacies billing D.C.’s

 Medical Assistance Program to provide the “usual and customary charge” in Field 426-DQ of the

 form. D.C. Pharmacy Benefits Management Prescription Drug Claims System (X2) Provider

 Manual, Version 0.11 (01/01/2013), Ch. 7, DC DHCF Payer Specifications, p. 25, available at

 http://www.dcpbm.com/documents/DC%20MAA%20Provider%20Manual%20v100412.pdf

 (accessed March 2013).

                                            Georgia

        38.    The Medicaid program of the State of Georgia (“Georgia’s Medical Assistance

 Program”) has defined the “usual and customary charge to the general public” to be “the lower of

 the lowest price reimbursed to the pharmacy by other third party payers (including HMO’s); or,

 the lowest price routinely offered to any segment of the general public. For example, if a

 pharmacy offers discounts to Senior Citizens or children, the same discounted price must be

 billed to the Division.” Provider Manual, Part II: Policies and Procedures for Pharmacy

 Services (April 2016), Section 1001, p. X-2, available at https://www.mmis.georgia.gov

 /portal/Portals/0/StaticContent/Public/ALL/HANDBOOKS/April%202016%20-

 %20Final%20Version%20(002)%2001-04-2016%20165259.pdf (accessed June 18, 2016).

        39.    Providers participating in the Georgia Medical Assistance Program have agreed to

 comply with all legal requirements applicable to the program, including those set forth in the

 Provider Manuals. Form DMA-002, Statement of Participation, Department of Community

 Health, Division of Medical Assistance, & 2A, available at https://www.gahsc.org/nm/pp/

 2006/ccs/Medicaid%20Provider%20Enrollment%20Appl.pdf (accessed June 18, 2016).              The




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 Georgia Medical Assistance pharmacy claim form has contained a field in which pharmacies are

 asked to state their “usual and customary charge.”

                                                Indiana

        40.      Indiana’s Medicaid regulations specifically limit the reimbursement to

 pharmacies to no more than “[t]he provider’s submitted charge, representing the provider’s usual

 and customary charge for the drug, as of the date of dispensing.” 405 IAC 5-24-4(a)(3) (2016)

 (effective July 25, 1997).

        41.     In Indiana, the state Medicaid agency has specified that a pharmacy’s usual and

 customary charge to the general public must include “any special pricing (for example, $4

 generic programs) for the covered service.”        Indiana Health Coverage Programs Provider

 Reference    Module,    Pharmacy    Services     (February   25,   2016),   p.   12,   available   at

 http://provider.indianamedicaid.com/media/155565/pharmacy%20services.pdf (accessed June

 18, 2016). When enrolling in Indiana Medicaid, pharmacies have been required to certify that

 they will abide by the provider program manual, as amended from time to time, and that they

 will bill Medicaid in amounts no greater than their usual and customary charge to the general

 public. IHCP Provider Agreement, Indiana Health Coverage Programs, && 12 and 13, available

 at http://www.indianamedicaid.com/ihcp/providerservices/pdf/provideragreement.pdf (accessed

 June 18, 2016). The Indiana Medicaid pharmacy claim forms have requested that pharmacies

 identify their “usual and customary charge” in the “charge” field.

                                            Louisiana

        42.     Louisiana law requires that all claim forms submitted by health care providers,

 including pharmacies, certify that “the amount billed does not exceed the health care provider's




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 usual and customary charge for the same goods, services, or supplies.”                    La. R.S.

 § 46:437.13(A)(2) (2016) (effective August 15, 1997).

          43.    In its Medicaid Program Provider Manual, Louisiana informs pharmacies billing

 the state Medicaid program that: “[f]ederal regulations governing the Medicaid Program require

 that participating providers agree to charge no more for services to eligible recipients than they

 charge for similar services to the general public.” Louisiana then defines the term “general

 public” as “all other non-Medicaid prescriptions including third-party insurance, pharmacy

 benefit management plans and cash.” Louisiana Medicaid Program Provider Manual, Ch. 37:

 Pharmacy       Benefits   Management      Services,   rev.01/01/12,    p.   6-3,    available   at

 http://www.lamedicaid.com/provweb1/manuals/pharm_benefits_manual.pdf (accessed June 18,

 2016).

                                            Maryland 1

          44.    Maryland’s Code of Regulations provides that “[t]he pharmacy provider shall

 charge the Program his usual and customary charge to the general public for similar

 prescriptions.” COMAR 10.09.03.07(F) (2016) (effective December 27, 2004).

                                          Massachusetts

          45.    The Medicaid Program in Massachusetts (“MassHealth”) has defined the term

 “usual and customary charge” as “the lowest price that a pharmacy charges or accepts from any

 payer for the same quantity of a drug on the same date of service, in Massachusetts, including

 but not limited to the shelf price, sale price, or advertised price of an over-the-counter drug.”

 Provider Manual Series, Pharmacy Manual (September 15, 2008), p. 4-3, available at



 1
  Although Maryland is no longer a plaintiff state, Relator seeks to recover the federal
 government’s share of the false claims submitted to Maryland Medicaid.



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 http://www.mass.gov/eohhs/docs/masshealth/regs-provider/regs-pharmacy.pdf (accessed June

 18, 2016).

        46.    In Massachusetts, pharmacies have agreed that “the submission of any claim by or

 on behalf of the provider constitutes a certification (whether or not such certification is

 reproduced on the claim form) that . . . the payment claimed does not exceed the maximum

 amount payable in accordance with the applicable fees and rates or amounts established under a

 provider contract or regulations applicable to MassHealth payment.”                130 CMR

 450.223(C)(2)(c) (effective April 1, 2003). MassHealth has required pharmacies to use online

 claims submission software that contains a mandatory “usual and customary charge” field.

                                           Michigan

        47.    The State of Michigan’s Medicaid Program has made explicit that the “usual and

 customary charge” must include “advertised discounts, special promotions, or other programs to

 initiate reduced prices made available to the general public or a similar portion of the

 population.” Medicaid Provider Manual, General Information for Providers (January 1, 2011),

 Section 12.2, p. 35, available at http://www.mdch.state.mis.us/dch-medicaid/manuals/Medicaid

 ProviderManual.pdf (accessed June 18, 2016).

        48.    Pharmacies enrolling in Michigan Medicaid have agreed to read and comply with

 the provider manual and to comply with all conditions of participation, policies and procedures

 stated therein and in updates, provider bulletins and other program notifications. Form MSA-

 1626, Pharmacy Provider Enrollment and Trading Partner Agreement, Michigan Department of

 Community Health (rev. 04/11), & 6, available at https://michigan.fhsc.com/Downloads/

 RxEnrollment_MSA1626-20110427.pdf (accessed June 18, 2016). Pharmacies specifically have

 agreed to comply with Michigan’s policies and practices applicable to billing Medicaid and to




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 reimburse any overpayments. Id., & 13. Michigan’s pharmacy claims form has contained a field

 in which the pharmacy must state its “usual and customary charge.”

                                             Nevada

        49.    In Nevada, “[a] pharmacy may not bill Medicaid more than the general public.”

 Medicaid Services Manual, rev. 10/1/2015, Addendum, Sec. U, p. 2, available at

 http://dhcfp.nv.gov/uploadedFiles/dhcfpnvgov/content/Resources/AdminSupport/Manuals/MSM

 /MSMAddendum/MSM_Addendum_16_5_13.pdf (accessed June 18, 2016). Nevada’s Medicaid

 Services Manual defines the term “general public” for purposes of the “usual and customary

 charge” billing rule as “the patient group accounting for the largest number of non-Medicaid

 prescriptions from a pharmacy,” excluding “patients who purchase or receive prescriptions

 through third party payers such as Blue Cross, Aetna, PAID, PCS, etc.” Id. Sec. G, p. 1.

 Nevada’s Medicaid Services Manual further mandates that: “[i]f a pharmacy discounts prices to

 specified customers, (e.g. 10% discount to senior citizens) these lower prices should be excluded

 from usual and customary calculations unless they represent more than 50% of the store’s

 prescription volume.” Id.

                                        New Hampshire 2

        50.    The State of New Hampshire’s Medicaid program requires pharmacies to charge

 Medicaid no more than their “usual and customary charge” and defines the term “usual and

 customary” to mean “the lowest charge, fee, or rate charged by a provider for any product or

 service at the time such product or service was provided. For the purpose of determining the

 lowest charge, fee or rate: 1) If the provider offers discounts or rebates, then the amount after



 2
  Although New Hampshire is no longer a plaintiff state, Relator seeks to recover the federal
 government’s share of the false claims submitted to New Hampshire Medicaid.



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 applying discounts or rebates shall be utilized.” N.H. Rev. Stat. Ann. 126-A:3(III)(a) and (b)

 (eff. November 1, 1995).

          51.   In the New Hampshire Medicaid Provider Agreement, pharmacies have been

 required to agree to the following: “my charges for services or items delivered to NH Title XIX

 [Medicaid] recipients will not exceed my fees or charges for similar services or items delivered

 to persons not entitled to receive benefits under the NH Title XIX Program.” New Hampshire

 Medicaid Program Provider Participation Agreement, State of New Hampshire, Department of

 Health            &             Human               Services,            available            at

 04c21d804ac7509c8aa9dfa36af9e3a5/Provider+Agreement+v.06+20120328.pdf?MOD=AJPER

 ES (accessed June 18, 2016). In addition, they have been required to commit that they will

 “abide by all rules, regulations, billing manuals, bulletins, and notices promulgated by the US

 Department of Health and Human Services, the State of NH, or the NH Department of Health

 and Human Services pertaining to the provision of care or services under NH Title XIX and the

 claiming of payment for those services.” Id. New Hampshire’s paper and electronic claims for

 pharmacies billing Medicaid have required pharmacies to state their “usual and customary

 charge.”

                                           New Jersey

          52.   The New Jersey Administrative Code provides that “[t]he maximum charge to the

 New Jersey Medicaid or NJ FamilyCare program for drugs, including the charge for the cost of

 medication and the dispensing fee, shall not exceed the provider’s usual and customary and/or

 posted or advertised charge.” N.J.A.C. 10:51-1.5(c) (effective June 16, 1997). New Jersey

 defines the term “usual and customary charge to the general public” as “the amount a provider

 charges the general public for a prescription for the same drug product (same NDC number) in




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 the same quantity as the prescription being dispensed to a Medicaid or NJ FamilyCare

 beneficiary” and “the actual charge made to the majority (51 percent) of the total patient

 population served by the individual pharmacy.” N.J.A.C. 10:51-1.10(a)-(b) (effective September

 21, 1998). New Jersey’s Medicaid regulations provide the following, specific direction on how

 to apply New Jersey’s “usual and customary charge” billing rule:

                “Usual and customary charge” means . . . .

                1. The provider shall not charge the programs more than would be
                charged to a cash customer when the general public, including
                private third party plans, accounts for more than 50 percent of a
                provider's total prescription volume.

                i. In the event Medicaid, NJ FamilyCare and/or PAAD represent
                more than 50 percent of a provider's total prescription volume,
                then, for reimbursement purposes, the provider's usual and
                customary charge may be considered the amount the programs
                would reimburse for the same services.
  Id.

                                             New York

        53.     The State of New York’s Medicaid program has stated that it would not reimburse

 an amount greater than a pharmacy’s “usual and customary charge to the general public.”

 www.health.state.ny.us/health_care/medicaid/program/docs/pharmacyreimbursement. Pharmacy

 providers have been instructed to enter their “usual and customary charge” in the “charge” field

 of the claim form used to bill Medicaid.

        54.     New York State’s Program for Elderly Pharmaceutical Insurance Coverage has

 required pharmacies to charge the program no more than their “usual and customary charge to

 the general public, taking into consideration any quantity and promotional discounts to the

 general public at the time of purchase.” NY CLS Elder § 250(1)(a)(1) (eff. October 6, 2004).




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                                          North Carolina

        55.     The North Carolina Administrative Code directs that “[r]eimbursement for

 outpatient prescription drugs dispensed to [Medicaid] enrollees shall be made to the pharmacy

 provider of service at a rate not to exceed the lesser of: (1) the applicable North Carolina

 Medicaid Pharmacy Program reimbursement rate; or (2) the pharmacy provider's usual and

 customary charge.” 10A N.C.A.C. 39A.1307(a)(1)-(2) (effective April 1, 2001).

                                           Rhode Island

        56.     The State of Rhode Island’s Medicaid program (“Rhode Island Medical

 Assistance”) has defined a pharmacy’s “usual and customary charge” to be “the lowest charge,

 fee, or rate charged by a provider for any product or service at the time such product or service

 was provided.”     R.I. Gen. Laws § 40-8-4.1(b) (effective July 1, 2009).           As does New

 Hampshire’s, Rhode Island law has further provided that: “[f]or the purpose of determining the

 lowest charge, fee, or rate: (1) If the provider offers discounts or rebates, the amount after

 applying discounts or rebates shall be utilized.” Id.

        57.     On Rhode Island’s Medicaid Provider Agreement, pharmacies have agreed “[t]o

 follow all laws, rules, regulations . . . that govern the Rhode Island Medical Assistance

 Program.” Provider Agreement Form, State of Rhode Island, Department of Human Services

 (updated Jan. 2011), & 1, available at http://www.eohhs.ri.gov/Portals/0/Uploads/Documents/

 prov_agreement.pdf (accessed June 18, 2016).            They have further agreed “[t]o bill the RI

 Medical Assistance Program in accordance with State and Federal regulations and laws, but in

 no event more than the provider’s usual, customary and reasonable rate charged to the general

 public for all services, goods, and products provided to Medical Assistance beneficiaries.” Id., &




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 11.   Rhode Island’s Medical Assistance Claim Form for pharmacies has contained a field

 requesting the pharmacy’s “usual and customary charge.”

                                               Tennessee

        58.      The TennCare Pharmacy Manual requires pharmacies participating in TennCare,

 which is Tennessee’s managed Medicaid program, to bill TennCare their “usual and customary”

 charge whenever it is less than the price determined using the other pricing methodologies set

 forth in the manual:

                 7.4.1 Provider Reimbursement Rates

                 Pricing is always the “lesser of”:

             •   AWP – 15% + dispense fee for brand drugs; or

             •   AWP – 13% + dispense fee for generic drugs; or

             •   Federal MAC + dispense fee; or

             •   TennCare MAC + dispense fee; or

             •   Usual and Customary (U & C); or

             •   Gross Amount Due

 State of Tennessee Medicaid Pharmacy Claims Submission Manual (March 1, 2016), p. 30-31,

 available       at      https://tenncare.magellanhealth.com/static/docs/Program_Information/TN_

 Medicaid_Pharmacy_Claims_Submission_Manual_Final.pdf (accessed June 18, 2016).

        59.      The TennCare Payer Specification Sheet requires that pharmacy providers input

 their “usual and customary” charge when submitting claims. Id. at p. 45.

                                                Virginia

        60.      The Virginia administrative code provides, with respect to fee-for-service

 pharmacy providers, that “[p]ayment for pharmacy services shall be the lowest of items 1



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 through 5 . . . . 3. The provider’s usual and customary charge to the public, as identified by the

 claim charge.” 12 VAC 30-80-40 (effective January 3, 2005).

        61.     The Pharmacy Manual in Virginia states that “[p]roviders approved for

 participation in the Medicaid Program must perform the following activities as well as any others

 specified by [Department of Medicaid Assistance (“DMAS”)]: . . . . Charge DMAS for the

 provision of services and supplies to recipients in amounts not to exceed the provider’s usual and

 customary charges to the general public.” Pharmacy Manual, Ch. II: Provider Participation

 Requirements, rev. 9/24/2012, p. 2, available at https://www.virginiamedicaid.dmas.virginia.gov/

 wps/portal/ProviderManual (accessed March 2013).

        62.      In Virginia, “[r]equirements for pharmacy providers for participation include,

 but are not limited to: . . . . [s]ubmission of claims for drugs dispensed to Medicaid recipients for

 reimbursement by Medicaid based on the pharmacy’s usual and customary charge to the public

 not to exceed the upper limits established by DMAS.” Id. at p. 8.

        63.     Furthermore, providers are instructed in the billing portion of the Pharmacy

 Manual that they “shall bill the Virginia Medicaid Program their usual and customary charges for

 all prescriptions dispensed.” Pharmacy Manual, Ch. V: Billing Procedures, rev. 7/31/2015), p.

 11 (emphasis in original), available at https://www.ecm.virginiamedicaid.dmas.virginia.gov/

 WorkplaceXT/getContent?vsId={63B6BDF3-F32B-46C8-9E28-884E65DC6AA0}

 &impersonate=true&objectType=document&id={DD4964AF-DF6E-498B-9194-

 7399C767BA7E}&objectStoreName=VAPRODOS1 (accessed June 18, 2016).

                                            Washington

        64.     Washington State’s Medicaid program reimburses pharmacies and other health

 care providers “on the basis of usual and customary charges or the maximum allowable fee




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 established by the department, whichever is lower.” WAC § 182-502-0100(9) (effective August

 17, 2000). For purposes of pharmacy reimbursement, Washington law defines the term “usual

 and customary charge” as “[t]he fee that the provider typically charges the general public for the

 product or service,” WAC § 182-530-1050, with the term “general public” interpreted to mean

 “the nonmedicaid population.”       WAC § 182-530-7000.           Pharmacies billing Washington

 Medicaid are instructed to bill their “usual and customary charge” and, in particular, “[i]f the

 pharmacy provider offers a discount, rebate, promotion or other incentive that directly relates to

 the reduction of the price of a prescription to the individual non-Medicaid customer, the provider

 must similarly reduce its charge to the Department for the prescription. (Example: A $5.00 off

 coupon for purchases elsewhere in the store.).”        Health Care Authority Prescription Drug

 Program: Billing Instructions, p. H-2, available at http://www.hca.wa.gov/medicaid/billing/

 documents/guides/prescription_drug_program_bi_05092010_12312011.pdf (accessed June 18,

 2016).

          65.   Washington Medicaid’s billing instructions informed pharmacies (other than

 Public Health Service entities) to enter in the “usual and customary charge” field of the National

 Council for Prescription Drug Program point-of-sale system claim form the “[a]mount charged

 cash customers for the prescription exclusive of sales tax.” Id. at p. K.22.

                      Medicare Part D Usual and Customary Requirement

          66.   To meet the prescription drug needs of Medicare enrollees, in 2003, Congress

 passed the Medicare Prescription Drug, Improvement, and Modernization Act (“MMA”). Pub. L.

 108-173, 117 Stat. 2066 (2003). The MMA established a voluntary prescription drug benefit

 program known as Medicare Part D available to those eligible for Medicare, i.e., those 65 years

 and older, the disabled and those with End Stage Renal Disease, who are willing to pay premium




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 payments, co-insurance or co-payments, and accept other terms of the plan. To deliver Part D

 benefits to Medicare enrollees, CMS contracts with private insurance companies known as Part

 D Plan Sponsors (“Part D Sponsors”), which in turn offer enrollees a choice of prescription drug

 benefit plans. These plans must meet minimum standards set by CMS. See 42 U.S.C. § 1395w-

 102; 42 C.F.R. § 423.104.

        67.     To fund the Part D prescription drug benefit, CMS pays a Part D Sponsor a per-

 enrollee subsidy (paid monthly) based on a bid submitted by the Part D Sponsor the previous

 year that reflected the Part D Sponsor’s anticipated costs. 42 C.F.R. § 423.329(a). This direct

 subsidy is risk-adjusted to account for the health status of the particular Part D Sponsor’s

 enrollees. 42 C.F.R. § 423.329(b). To provide Part D Sponsors with further protection against

 annual cost fluctuations, Part D also includes a risk-sharing mechanism (known as the “risk

 corridors”) under which CMS will partially reimburse a Part D Sponsor if its actual costs exceed

 its anticipated costs by a specified percentage. See 42 C.F.R. § 423.336. Similarly, CMS

 provides additional funding to “reinsure” Part D Sponsors for prescription drug costs incurred

 after an enrollee reaches a specified threshold of out-of-pocket expenses (known as the

 “catastrophic” threshold). 42 C.F.R. § 423.329(c). And CMS provides further payments to

 subsidize costs incurred by certain low-income enrollees. 42 C.F.R. § 423.329(d). Thus, CMS’s

 monthly subsidy payments may include a combination of reinsurance payments, low-income

 enrollee subsidies, and risk-sharing payments on top of the direct per-enrollee subsidy.

        68.     At the end of each year, CMS “reconciles” the Part D Sponsor’s actual allowable

 costs against the monthly subsidy payments to determine whether it must make further risk

 sharing, low-income subsidy, or reinsurance payments; or, conversely, whether the Part D

 Sponsor owes money to CMS. 42 C.F.R. §§ 423.329(c), 423.343. To calculate whether it must




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 make these additional payments, CMS needs information about every drug claim submitted to

 the Part D Sponsor by pharmacies, either directly or through a Pharmacy Benefit Manager

 (“PBM”) or other intermediary. 42 C.F.R. §§ 423.329(c)(2)(ii), 423.336(c); see also Final Rule,

 Medicare Prescription Drug Benefit, 70 Fed. Reg. 4,194, 4,307 (Jan. 28, 2005).

        69.     As a condition of receiving Part D funds, a Part D Sponsor must agree to comply

 with the applicable requirements and standards and the terms and conditions of payment

 governing the Part D program. See 42 U.S.C. § 1395w-112. In particular, the Sponsor must

 agree to provide CMS with the information it requires to administer the program, 42 C.F.R.

 § 423.322(a), to comply with all federal laws and regulations designed to prevent fraud, waste,

 and abuse, 42 C.F.R. § 423.505(h)(1), and, to require that the pharmacies in their networks agree:

 to perform services in a manner that is consistent with and complies with the Part D Sponsors’

 contractual obligations; to comply with all applicable federal laws, regulations, and CMS

 instructions; and, to comply with all federal laws and regulations designed to prevent fraud,

 waste, and abuse. 42 C.F.R. § 423.505(i)(4)(iii)–(iv).

        70.     To submit claims for drugs dispensed to Medicare enrollees under Medicare Part

 D, a pharmacy must individually contract with a Part D Sponsor that provides Part D benefits, or

 an intermediary organization (collectively referred to as the “Part D sponsor” herein).         A

 pharmacy that enters one of these contracts is known as a “network pharmacy.” See 42 C.F.R.

 § 423.100 (defining “network pharmacy”). When entering into these contracts, Part D Sponsors

 negotiate the prices that network pharmacies will be paid for covered drugs dispensed to their

 enrollees. See id. (defining “negotiated price” as the price that “[t]he Part D sponsor (or other

 intermediary contracting organization) and the network dispensing pharmacy or other network




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 dispensing provider have negotiated as the amount such network entity will receive, in total, for

 a particular drug”).

        71.     To receive payment from CMS, a Part D Sponsor must agree to give the Part D

 enrollees access to “negotiated prices” for covered drugs – that is, the prices that the Plan

 Sponsors negotiate with providing pharmacies. 42 U.S.C. § 1395w-102(a)(1) and (d)(1); see 42

 C.F.R. § 423.100 (defining “negotiated prices”). Such negotiated prices “shall take into account

 negotiated price concessions, such as discounts, direct or indirect subsidies, rebates, and direct or

 indirect remunerations, for covered part D drugs.” 42 U.S.C. § 1395w-102(d)(1)(B).

        72.     Providing enrollees with access to negotiated prices reduces the United States’

 outlays for prescription medication. Medicare Part D plans have annual “coverage gaps” that

 start once a plan has spent a certain dollar amount on prescription drug coverage for an enrollee

 during a year and end once the enrollee has incurred a certain dollar amount of out-of-pocket

 costs during the year. If enrollees are given the benefit of the Part D Sponsors’ negotiated

 discounts during this coverage gap rather than being charged non-discounted prices, they will be

 able to purchase more medication on their own while in the coverage gap, postponing the stage

 at which the enrollee leaves the “coverage gap” and the Medicare Part D program picks up a

 higher percentage of the enrollees’ prescription drug expenses.

        73.     When negotiating contracts with network pharmacies to provide Part D

 prescription drug benefits, Part D Sponsors, or the pharmacy benefit managers (PBMs) on

 contract with Part D Sponsors (collectively referred to herein as “Part D Sponsors”), typically

 require the inclusion of “Usual and Customary” (“U&C”) clauses that require network

 pharmacies to include their U&C charge, including all available discounts, on their claim, and

 cap the Part D Sponsor’s reimbursement at the U&C charge.




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        74.     According to the Pharmacy Audit Assistance Service (PAAS), when the Medicare

 Part D program was first launched in 2005, the majority of PBMs with Medicare Reimbursement

 Schedules capped reimbursement for Part D medications at the pharmacy’s U&C charge. For

 example, as of 2005, the following large PBMs were reimbursing no more than a pharmacy’s

 “usual and customary charge” for generic medications: 4DPharmacy Management Systems,

 Argus, Cigna Health Care (for 90 day supplies of medication), Community Care Rx, Express

 Scripts, Health Trans, Medco Health Solutions, Inc., Navitus Health Solutions, LLC,

 Pharmacare, Prime Therapeutics, and RxAmerica. See MEDICARE Part D (PDP(MA-PD)

 PROGRAMS, Assembled by PAAS National, 10/10/2005, http://c.ymcdn.com/sites/www.

 wsparx.org/resource/resmgr/imported/PartD_PDP_MA-PD_ PlanTable3_10-05.pdf (accessed on

 June 16, 2016).

        75.     For example, Express Scripts, a PBM that includes Rite Aid in their network, in

 2005 reimbursed pharmacies no more than their “usual and customary retail price.” Express

 Scripts Pharmacy Manual, 2005, at 7, available at ftp://ftp.ihs.gov/ rpms/POS/Payer Pharmacy

 Manuals/Express Scripts PharmacyNetworkManual.pdf (accessed June 17, 2016).                 Express

 Scripts required network pharmacies to submit their U&C retail price, “including all discounts on

 applicable date of fill,” id. at 6, and defined the term as: “The usual and customary retail price of

 a Covered Medication cash transaction at the Pharmacy dispensing the Covered Medication (in

 the quantity dispensed) on the date that it is dispensed, including any discounts or special

 promotions offered on such date.” Id. at 67.

        76.     During the years since 2005, many of the large PBMs have continued to

 reimburse pharmacies for medication provided to Medicare Part D beneficiaries at no more than

 their “usual and customary charge.”




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        77.       For example, the standard contract between the PBMs Wellpoint Pharmacy

 Management and Anthem Prescription Management, and participating pharmacies, which

 include Rite Aid, provides that, “[u]nless otherwise agreed to in writing, Claims will be paid at

 the lower of (i) Pharmacy’s Usual and Customary Charge; (ii) the AWP discount plus the

 applicable Dispensing Fee; or (iii) MAC plus the applicable Dispensing Fee, minus, in all

 instances, any Covered Individual Co-payments and/or transmission fee(s).... In no case shall

 reimbursement to Pharmacy exceed Pharmacy’s Usual and Customary Charge.” The contract

 then defines "Usual and Customary Charge” to mean: “the lowest price the Pharmacy would

 charge to a cash-paying customer with no insurance for an identical pharmaceutical good or

 service on the date and at the location that the prescription is dispensed.”          WellPoint

 Participating     Pharmacy      Provider    Agreement,     copyright    2006,     available    at

 https://www.anthem.com/ prescription/noapplication/f1 /s0/ t0/pw_ad079969.pdf, accessed on

 June 15, 2016.

        78.       Likewise, PharmAvail Benefit Management, a large PBM that provides benefits

 management services for Part D sponsors, and that contracts with network pharmacies including

 Rite Aid, requires network pharmacies to charge: “the lower of: (a) the amount applicable to a

 given Plan or (b) Pharmacy’s usual and customary price (i.e., Pharmacy’s cash price to the

 general public at the time of dispensing inclusive of all coupons, discounts, and other

 deductions).” PharmAvail Benefit Management Participating Pharmacy Agreement, available at

 https://www.pharmavail.com/#Provider (accessed on or about April 19, 2016).

        79.       As another example, the standard Part D contract of PBM Plus, Inc., a large PBM

 that provides benefits management services for Part D sponsors, and that contracts with network

 pharmacies including Rite Aid, provides reimbursement for generic drugs at “the lower of the




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 Maximum Allowable Cost (“MAC”), as defined herein, AWP less 25% (AWP – 25%) of the

 dispensed medication plus a dispensing fee of $1.75, or the pharmacy’s then current U&C retail

 charge.”     PBM Plus, Inc. Provider Pharmacy Pharmaceutical Care Network Agreement,

 available       at     https://www.pbmplus.com/docs/Pharmacy%20Network%20Agreement.pdf

 (accessed on June 9, 2016). The PBM Plus contract requires a network pharmacy to agree to

 submit its then current Usual and Customary charge via PBM PLUS’ on line system with each

 request for payment.” Id. The contract defines the Usual and Customary Charge as “[t]he price

 Pharmacy would have charged an Enrollee (net of any applicable discount, including, but not

 limited to senior citizen discounts, frequent shopper discounts, non-insurance discounts, or any

 other special discount offered to attract customers) on the date the service was provided for a

 retail prescription IF the Enrollee were a cash customer.” Id.

        80.      Network pharmacies that submit claims to Part D Plan Sponsors must certify to

 the accuracy, completeness, and truthfulness of that data and acknowledge that they will be used

 to seek federal funds. 42 C.F.R. § 423.505(k).

        81.      Network pharmacies must use the NCPCD claim format to submit their charges to

 Part D Sponsors and the PBMs on contract with these sponsors. See 42 U.S.C. § 1320d-4(b)

 (mandating compliance with transaction standards set by HHS); 45 C.F.R. § 162.1102(a)-(c)

 (adopting the NCPDP standard as the standard for retail pharmacy electronic drug claims).

        82.      Federal law prohibits entities from “submitt[ing] or caus[ing] to be submitted bills

 or requests for payment” under the Medicare program for items or services “furnished

 substantially in excess of such . . . entity’s usual charges . . . for such items or services.” 42

 U.S.C. § 1320a-7(b)(6).     Entities that do so may be excluded from the federal healthcare

 programs. Id.




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        83.     Moreover, any “health care practitioner and any other person (including a hospital

 or other health care facility, organization, or agency)” that provides health care services for

 which payment may be made “in whole or in part” under the Medicare Act is required to “assure

 . . . that services or items ordered or provided” will be provided “economically.” 42 U.S.C.

 § 1320c-5(a)(1).

                     TRICARE USUAL AND CUSTOMARY REQUIREMENT

        84.     TRICARE is the healthcare program managed by the Department of Defense for

 active duty and retired service members and their eligible beneficiaries. See 10 U.S.C. § 1071 et

 seq. TRICARE benefits include prescription drug coverage. Since 2004, Express Scripts has

 been the TRICARE PBM for retail pharmacy services.

        85.     The 2005 Express Scripts Pharmacy Network Manual provided that claims must

 be submitted in the NCPDP format, and “[a]ll claims submitted must include the Pharmacy’s

 Usual and Customary retail price, including all discounts on applicable date of fill.”

        86.     The 2005 Manual defined “Usual and Customary Retail Price (U&C)” as:

                The usual and customary retail price of a Covered Medication in a cash
                transaction at the Pharmacy dispensing the Covered Medication (in the quantity
                dispensed) on the date that it is dispensed, including any discounts or special
                promotions offered on such date.

                (emphasis added).

        87.     The 2005 Manual provided that claims will be reimbursed based on the lowest of:

 (i) AWP less the contracted discount baseline price (as calculated by First DataBank) less the

 contracted discount for the specific network; (ii) MAC or submitted cost plus the contracted

 dispensing fee for that network; or (iii) U&C.

        88.     The 2015 Express Scripts Network Provider Manual defined “Usual and

 Customary Retail Price” as:



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                To the extent not defined in the Provider Agreement, Usual and Customary Retail
                Price means the usual and customary retail price of a Covered Medication in a
                cash transaction at the Pharmacy dispensing the Covered Medication (in the
                quantity dispensed) on the date that it is dispensed, inclusive of “loss leaders”,
                frequent shopper or special customer discounts or programs, competitor’s
                matched price or any and all other discounts, special promotions, and
                programs causing a reduction in the price offered to that Member and
                offered by the Network Provider (or any of its Pharmacies) on such date.
                Additionally, the Usual and Customary Retail Price must include any
                applicable discounts offered to attract customers including Members.

                (emphasis added).

       89.      The 2015 Manual provided that claims will be reimbursed using the following

 methodology:

                a)     For Single-Source Brand Drugs, PBM will pay the lesser of:

                         i.     AWP ingredient cost minus contracted brand discount plus

                              contracted brand dispensing fee for the applicable network; OR

                        ii.     Network Provider submitted brand ingredient cost plus contracted

                              brand dispensing fee; OR

                       iii.     Usual and Customary Retail Price; OR

                       iv.       If applicable, specific Sponsor reimbursement; OR

                        v.      State Fee Schedule (e.g., Workers’ Compensation)

                b)     For Generic Drugs or Multi-Source Brand Drugs, PBM will pay the

                        lesser of:

                         i.     AWP Generic Drugs or Multi-Source Brand Drugs ingredient cost

                              minus contracted Generic Drug discount plus contracted Generic

                              Drug dispensing fee for the applicable network; OR

                        ii.     MAC discount plus contracted Generic Drug dispensing fee for

                              applicable network; OR



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                         iii.     Network Provider-submitted ingredient cost plus contracted

                                Generic Drug dispensing fee for applicable network; OR

                         iv.      Usual and Customary Retail Price; OR

                          v.      If applicable, special Sponsor reimbursement logic; OR

                         vi.      State Fee Schedule (e.g., Workers’ Compensation)

        90.     In addition, the 2015 government TRICARE Reimbursement Manual 6010.61-M

 (Apr. 1, 2015) provided: “The TRICARE allowable cost will be the lesser of the usual and

 customary price or the Maximum Allowable Cost (MAC) or TPharm contractor’s contracted rate

 for ingredient cost.”

                                       THE FRAUDULENT SCHEME

        91.     In or about September 2007, Defendant Rite Aid launched its Rx Savings

 Program, offering significantly reduced prices for 500 different generic medications. Rite Aid

 offered this program to all customers without charging an enrollment fee. Rite Aid imposes no

 limitation whatsoever on who may enroll in the program, or the requisite terms and conditions of

 purchase, with one exception: the reduced prices are not available for prescriptions funded in

 whole or in part by publicly funded health care programs such as Medicare Part D, Medicaid,

 and TRICARE. To receive the special discounts, all customers have to do is establish that their

 prescriptions are not paid for by a government health care program and enroll in the Rx Savings

 Program.

        92.     Exhibit A is Rite Aid’s 2011 brochure setting forth the generic medications

 included in Rite Aid’s Rx Savings Program.           As stated in the brochure, in all states but

 Connecticut, customers enrolled in the Rx Savings Program pay only $8.99 for a 30-day supply

 of over 500 generic medications, and only $15.99 for a 90-day supply of over 500 generic




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 medications. In addition, Rite Aid offers Rx Savings Program members heavily discounted

 prices for oral contraceptives, diabetes test strips, flu shots and Zolpidem Tartrate (the sleeping

 medication Ambiem). In Connecticut, customers enrolled in the Rx Savings Program pay only

 $10.99 for a 30-day supply of over 500 generic medications. See Exhibit A. The Rx Savings

 Program brochures expressly state that participation in the program is “free” but not available for

 “[p]rescriptions paid for in whole or in part by publicly funded health care programs.”

        93.     Relator has been informed by a former Rite Aid pharmacist that between 90 and

 95 percent of Rite Aid’s non-insured pharmacy customers at his pharmacy enroll in the Rx

 Savings Program.

        94.     The Rite Aid Rx Savings Program is not per se an illegal program, even with its

 exclusion of prescriptions paid for by public health programs. If Rite Aid excluded Medicare

 Part D, TRICARE, and Medicaid beneficiaries from enrolling in the program and then charged

 those beneficiaries prices that were equal to or lower than the Rx Savings prices for the same

 medications, the Rx Savings Program would not lead to violations of the usual and customary

 charge rules. For example, some states ask pharmacies to take into account their lowest prices to

 third-party payers, such as employer group health plans, when computing their “usual and

 customary price” for a medication. If Rite Aid consistently computed its “usual and customary

 price” to Medicaid in those states based on its agreements with third-party insurers (such as

 employer group health plans) that provided for prices even lower than the Rite Aid Rx Savings

 Program prices, the Rite Aid Rx Savings Program would not lead to violations of the usual and

 customary charge rules.     Or, if Rite Aid performed a state and Part D Sponsor-specific

 computation of its “usual and customary charge,” taking into account the unique definition of

 “usual and customary charge” in each state and in each Plan Sponsor’s provider agreement, and




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 then consistently billed each entity in compliance with its respective rule, the Rx Savings

 Program would not lead to illegal behavior. However, Rite Aid does not do so. In many

 instances, Rite Aid charges Medicare Part D, TRICARE, and Medicaid beneficiaries amounts

 that do not take into account either the lower Rx Savings Program prices or any lower prices that

 Rite Aid makes available to other payers, such as third-party insurance companies. Rite Aid’s

 prices to the Medicare Part D program, Medicaid, and TRICARE for many of the medications

 covered by the Rx Savings Programs significantly exceed Rx Savings Program prices.

        95.    In 2011, Relator’s friend and former classmate (referred to herein by the

 pseudonym “John Doe”), who worked for Rite Aid in New York as a technician, pharmacist

 intern and pharmacist between 2002 and 2010, provided Relator with information about the Rx

 Savings Program.     Throughout his tenure as a Rite Aid pharmacist, John Doe processed

 prescriptions using Rite Aid’s dispensing and billing software program, a program that

 automatically assigns prices upon the pharmacist entering the customer’s payer information into

 the program. Through his direct experience billing customers and third-party payers, including

 Medicaid and Medicare Part D, for prescription drugs, John Doe learned that the software

 program will only generate the “Rx Savings price” for a customer if the pharmacy has enrolled a

 customer in the program, assigned the customer an enrollment number and then entered that

 number, along with other information about the customer, into the computer program that

 handles dispensing and billing. John Doe was instructed by the pharmacy’s management that

 pharmacists were not permitted to enroll Medicaid and Medicare beneficiaries in the Rx Savings

 Program. While employed at Rite Aid, John Doe further learned that Rite Aid’s dispensing and

 billing software, when run by Rite Aid pharmacy staff processing a prescription drug claim,

 charged government health programs, including Medicare Part D and Medicaid, a price that Rite




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 Aid represented was its “U&C” but that did not include the discounts offered to cash-paying

 customers through the Rx Savings Program.

        96.     Rite Aid’s pharmacists and pharmacy technicians are responsible for billing any

 liable third-party payers such as Medicaid and Medicare Part D whenever they dispense

 prescription medication.    When processing a customer request for a prescription fill, the

 pharmacist or pharmacy technician enters information about the prescription, such as the

 customer name, prescriber name, medication, dosing instructions, and quantity, into Rite Aid’s

 dispensing and billing software. The software then produces a billing page that displays the

 customer’s insurance coverage, if any. The pharmacist or pharmacist technician can generate a

 bill to insurance by clicking on the name of an insurer with which the customer has coverage,

 such as a Medicare Part D or Medicaid plan. As soon as the pharmacist or pharmacist technician

 clicks on the insurer name, the software transmits the claim in real time to the payer with both

 information input by the pharmacy staff at the register and the charges generated by the software.

 The claim does not go through any intermediary Rite Aid office—like a corporate billing

 department. The pharmacist or pharmacy technician can view both the amount Rite Aid billed

 the payer along with the amount of the co-pay to be charged to the customer on a screen titled

 “Details.” The amount Rite Aid billed the payer is represented on the “Details” screen next to

 the words “cash price,” which is a term Rite Aid and other pharmacies use interchangeably with

 “U&C” to designate the price that pharmacies are obligated to use when billing government

 payers. This price represents what Rite Aid has just billed the payer. Within seconds, the payer

 electronically notifies the pharmacist or technician whether the plan will cover the prescription.

        97.     While employed at Rite Aid, John Doe discovered, through his experience as a

 pharmacist, that Rite Aid consistently charged government health programs higher amounts for




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 the generic medications on the Rx Savings Program list than the amounts Rite Aid charged its

 cash-paying customers for the same medications. John Doe suspected this initially through

 conversations with Medicare Part D customers complaining about what they were being charged

 while in the “donut hole” of coverage, i.e., the time period in which Medicare Part D provides

 limited or no coverage until the beneficiary has reached a threshold level of medication spending

 called “catastrophic spending.” Several of John Doe’s Medicare customers became upset and

 informed him that not only were they not being permitted to join the Rx Savings Program, they

 were regularly being charged amounts that very significantly exceeded the Rx Savings Program

 prices. John Doe knew that pharmacies were required by law to charge Medicare Part D

 beneficiaries their U&C charges regardless of whether the customer was in the donut hole or the

 Plan Sponsor was bearing most of the cost. Accordingly, the fact that Part D beneficiaries were

 being overcharged while in the donut hole alerted John Doe to the fact that Rite Aid likely was

 charging government health plans amounts that exceeded the Rx Savings Program price.

        98.    By reviewing the “Details” screen after he had charged medications on the Rx

 Savings Program list to a Medicare Part D or Medicaid plan, John Doe confirmed his initial

 suspicions that Rite Aid was charging Medicare Part D sponsors and Medicaid plans amounts

 that exceeded the Rx Savings Price. Thus, John Doe saw on the “Details” screen that the charge

 to these government payers exceeded the heavily discounted prices that Rite Aid charged cash-

 paying customers enrolled in the Rx Savings Program.

        99.    To obtain specific examples of these false claims after he had stopped working at

 Rite Aid, John Doe checked with a Rite Aid customer he knew was a Medicaid beneficiary

 (referred to herein as “Customer A.B.”) about the prices on the Rite Aid receipts pertaining to

 this customer’s prior purchases of generic medications available under the Rx Savings Program.




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 Because he had worked as a Rite Aid pharmacist, and routinely printed out, reviewed and handed

 receipts to customers, John Doe knew that at Rite Aid, when Rite Aid has charged part or all of a

 drug purchase to insurance, the customer’s receipt shows: i) an amount labeled on the receipt as

 the co-pay amount which reflects the amount for which the customer is responsible; and, ii) an

 amount labeled on the receipt as the “U&C” amount that shows what Rite Aid actually has

 charged to the insurance company. In addition, in such circumstances, he knew that the Rite Aid

 receipt always identifies the insurance plan that has been charged the amount identified as the

 “U&C.” He also had learned that the “U&C” amount that appeared on the customer’s receipt

 was the same amount that appeared on the “Details” screen for the transaction next to the words

 “cash price.” In reviewing the receipts of this particular Medicaid-insured customer, John Doe

 saw that the receipts stated that Rite Aid had charged New York Medicaid a purported “U&C”

 that significantly exceeded the amounts charged to Rx Savings Program members for the same

 drug.

         100.   Rite Aid’s corporate headquarters implemented this scheme at all of its stores in

 all states in which it does business by programming its billing and dispensing software—

 software that ran at each and every one of its pharmacy computers in each of its stores when

 pharmacy staff processed and billed a prescription—to generate a false, inflated U&C charge for

 the medications on Rite Aid’s Rx Savings Program list, and to send this charge electronically to

 government payers.

         101.   As a result of the operation of Rite Aid’s dispensing and billing software, on

 January 21, 2010, the Rite Aid pharmacy at 32-14 31st Street in Astoria, NY, charged New

 York’s Medicaid program $58.99 for 30 tablets of Zolpidem Tartrate 5 mg. (Ambien) dispensed

 to Customer A.B. The $58.99 charge appeared on this customer’s Rite Aid receipt as the “U&C”




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 charge, which John Doe knew from his work experience was the amount that Rite Aid had

 charged to Medicaid. The receipt also listed a “co-pay” amount for which the customer had been

 personally responsible. The Rx number for the customer was XXXXX (actual number redacted).

 This claim was a false claim. New York’s Medicaid program required pharmacies to charge

 Medicaid their “usual and customary charge to the general public.” At that time, Rite Aid was

 charging Rx Savings Program members just $19.99 for 30 tablets of Zolpidem Tartrate 5 mg.

 Rite Aid should have charged New York Medicaid the same discounted price.

        102.   As a result of the operation of Rite Aid’s dispensing and billing software, on

 December 14, 2010, the Rite Aid pharmacy at 32-14 31st Street in Astoria, NY, charged New

 York’s Medicaid program $49.99 for 30 tablets of Fomotidine 40 mg. dispensed to Customer

 A.B. The $49.99 charge appeared on this customer’s Rite Aid receipt as the “U&C” charge,

 which John Doe knew from his work experience was the amount that Rite Aid had charged to

 Medicaid. The receipt also listed a “co-pay” amount for which the customer had been personally

 responsible. The Rx number for the customer was YYYYY (actual number redacted). This

 claim was a false claim.     New York’s Medicaid program required pharmacies to charge

 Medicaid their “usual and customary charge to the general public.” At that time, Rite Aid was

 charging Rx Savings Program members just $8.99 for 30 tablets of Fomotidine 40 mg. Rite Aid

 should have charged New York Medicaid the same discounted price.

        103.   John Doe’s understanding is that Rite Aid’s policy with regard to excluding

 Medicaid and Medicare beneficiaries from the Rx Savings Program is uniform across the

 country. In light of the fact that Rite Aid’s dispensing and billing software program comes from

 corporate headquarters and is utilized by individual pharmacies without the pharmacies’

 adjusting Medicaid or Medicare Part D prices to take into account the Rx Savings Program price,




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 John Doe inferred that Rite Aid’s practice in New York of excluding the Rx Savings Program

 price from its computation of the “usual and customary charge” for Medicaid and Medicare Part

 D likely was typical of Rite Aid’s billing practice across the country.

        104.    To corroborate his friend’s understanding of Rite Aid’s billing practices, Relator

 has obtained particularized information concerning more than two hundred additional false

 claims to government health plans generated by multiple Rite Aid pharmacies in 17 different

 states between the years 2008 and 2016. Allegations regarding these sample false claims are set

 forth in Paragraphs 128-149.

        105.    Prior to obtaining information concerning these additional false claims, Relator

 contacted a Rite Aid drugstore in eight of the plaintiff states besides New York and inquired as

 to their prices to Medicaid beneficiaries for a sample of the largest sales volume drugs of the 500

 generic medications included in the Rx Savings Program. He selected these eight plaintiff states

 for investigation because: i) Rite Aid sells a significant volume of prescription medication in

 each of the states; ii) each of the states has a particularly strong U&C rule that expressly requires

 pharmacies to offer Medicaid the same price offered through generally available savings or

 discount programs; and iii) each of the states has enacted qui tam provisions permitting private

 plaintiffs to sue in the name of the state for the knowing submission of false claims under state-

 financed programs.

        106.    Choosing two frequently prescribed generic medications with an Rx Savings

 Program price of $8.99 for a 30-day supply (or $10.99 for a 30-day supply in Connecticut)—

 Ranitidine 300 mg. capsules, a gastrointestinal medication, and Fluoxetine 40 mg. capsules, an

 antidepressant—Relator asked each pharmacy for its Medicaid price for a 30-day supply of the

 drug (with the exception of one pharmacy, in which he did not ask about Fluoxetine because its




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 use would have been contraindicated in combination with other drugs about which he was

 inquiring). In every single instance, Relator learned that the Rite Aid pharmacy was charging

 Medicaid significantly higher prices for the generic medications than the prices made available

 to their Rx Savings Program members.

        107.   In addition, Relator selected 17 other medications with an Rx Savings Program

 price of $8.99 for a 30-day supply (or $10.99 for a 30-day supply in Connecticut), and he asked

 each pharmacy about its Medicaid pricing for a 30-day supply of two of those 17 drugs. These

 17 medications were: Spironolactone 100 mg. tablets, a diuretic; Ciclopirox 0.77% cream and

 suspension solution, anti-fungal agents; Paroxetine 30 mg. tablets, an antidepressant; Amox Tr-

 clav 400-57 chewable tablets, an antibiotic; Betamethasone        DP AUG 0.05% cream and

 Bethamethasone DP 0.05% ointment, anti-inflammatory corticosteroids; Buspirone 30 mg.

 tablets, an anti-anxiety drug; Clomiphene Citrate 50 mg. tablets, a fertility drug; Ciprofloxacin

 0.3% Opthalmic solution, an antibiotic; Clotrimazole-betameth cream, an antifungal agent;

 Econazole nitrate 1% cream, an anti-fungal agent; Lidocain/Prilocain Cream 2.5%, a topical pain

 medication; Lovastatin 40 mg. tablets, an anti-cholesterol drug; and Mometasone 0.1% cream, an

 anti-inflammatory corticosteroid. In every single instance, Relator learned that the Rite Aid

 pharmacy was charging Medicaid significantly higher prices for the generic medications than the

 prices made available to their Rx Savings Program members.

        108.   The results of Relator’s pricing inquiries are set forth below in Paragraphs 109-

 127.

        109.   During the week of April 18, 2011, Rite Aid pharmacies charged the following

 amounts for 30 Ranitidine capsules with a dosage strength of 300 mg.:

        Medication: Ranitidine 300 mg. capsules, Quantity: 30




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        Rite Aid Store                       Medicaid Price                Rx Savings Price

        600 West 7th St.                     $47.99                        $8.99
        Los Angeles, CA.

        66 Church Street                     $69.99                        $10.99
        New Haven, CT.

        891 Ponce de Leon Ave., NE           $51.99                        $8.99
        Atlanta, GA.

        4612 Woodward Ave.                   $49.99                        $8.99
        Detroit, MI.

        803 South Main Street                $69.99                        $8.99
        Salem, IN.

        710 E. Broadway                      $69.99                        $8.99
        South Boston, MA.

        92 South Street                      $52.99                        $8.99
        Concord, NH.


        711 Broad Street                     $69.99                        $8.99
        Providence, RI.

        110.   During the week of April 18, 2011, Rite Aid pharmacies charged the following

 amounts for 30 Fluoxetine capsules in a dosage strength of 40 mg.:

        Medication: Fluoxetine HCL 40 mg. capsules, Quantity: 30

        Rite Aid Store                       Medicaid Price                Rx Savings Price

        600 West 7th St.                     $114.99                       $8.99
        Los Angeles, CA.

        891 Ponce de Leon Ave., NE           $76.99                        $8.99
        Atlanta, GA.

        4612 Woodward Ave.                   $88.99                        $8.99
        Detroit, MI.

        803 South Main Street                $75.99                        $8.99
        Salem, IN.



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        710 E. Broadway                      $79.99                       $8.99
        South Boston, MA.

        92 South Street                      $62.99                       $8.99
        Concord, NH.

        711 Broad Street                     $76.99                       $8.99
        Providence, RI.

        111.   During the week of April 18, 2011, a Rite Aid pharmacy in Los Angeles, CA,

 charged the following amounts for 30 Spironolactone tablets in a dosage of 100 mg.:

        Medication: Spironolactone 100 mg. tablet, Quantity: 30

        Rite Aid Store                       Medicaid Price               Rx Savings Price

        600 West 7th St.                     $59.99                       $8.99
        Los Angeles, CA.

        112.   During the week of April 18, 2011, a Rite Aid pharmacy in Los Angeles, CA,

 charged the following amounts for 30 grams of Ciclopirox 0.77% cream:

        Medication: Ciclopirox 0.77% cream, Quantity: 30 gm

        Rite Aid Store                       Medicaid Price               Rx Savings Price

        600 West 7th St.                     $54.99                       $8.99
        Los Angeles, CA.

        113.   During the week of April 18, 2011, a Rite Aid pharmacy in New Haven, CT,

 charged the following amounts for 30 Paroxetine HCL tablets with a dosage strength of 30 mg.:

        Medication: Paroxetine HCL 30 mg. tablets, Quantity: 30

        Rite Aid Store                       Medicaid Price               Rx Savings Price

        66 Church Street                     $59.99                       $10.99
        New Haven, CT.

        114.   During the week of April 18, 2011, a Rite Aid pharmacy in New Haven, CT,

 charged the following amounts for Ciclopirox 0.77%, 30 ml. suspension:



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        Medication: Ciclopirox 0.77%, 30 ml. suspension

        Rite Aid Store                      Medicaid Price               Rx Savings Price

        66 Church Street                    $60.99                       $10.99
        New Haven, CT.

        115.   During the week of April 18, 2011, a Rite Aid pharmacy in New Haven, CT,

 charged the following amounts for 20 Amox Tr-clav chewable tablets, 400-57:

        Medication: AmoxTr-clav, chewable tablets, 400-57, Quantity: 20

        Rite Aid Store                      Medicaid Price               Rx Savings Price

        66 Church Street                    $77.99                       $10.99
        New Haven, CT.

        116.   During the week of April 18, 2011, a Rite Aid pharmacy in Atlanta, GA, charged

 the following amounts for 15 grams of Betamethasone DP AUG 0.05% cream:

        Medication: Betamethasone DP AUG 0.05% cream, Quantity: 15 gm

        Rite Aid Store                      Medicaid Price               Rx Savings Price

        891 Ponce de Leon Ave., NE          $37.99                       $8.99
        Atlanta, GA.

        117.   During the week of April 18, 2011, a Rite Aid pharmacy in Atlanta, GA, charged

 the following amounts for 30 Buspirone HCL tablets, in a dosage of 30 mg.:

        Medication: Buspirone HCL 30 mg. tablets, Quantity: 30

        Rite Aid Store                      Medicaid Price               Rx Savings Price

        891 Ponce de Leon Ave., NE          $104.99                      $8.99
        Atlanta, GA.

        118.   During the week of April 18, 2011, a Rite Aid pharmacy in Detroit, MI, charged

 the following amounts for 45 grams of Betamethasone AUG DP 0.05% Cream:

        Medication: Betamethasone AUG DP Cream 0.05%, Quantity: 45 grams




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        Rite Aid Store                       Medicaid Price                Rx Savings Price

        4612 Woodward Ave.                   $117.59                       $8.99
        Detroit, MI.

        119.   During the week of April 18, 2011, a Rite Aid pharmacy in Detroit, MI, charged

 the following amounts for five Clomiphene Citrate tablets in a dosage of 50 mg.:

        Medication: Clomiphene Citrate tablets, 50 mg., Quantity: 5

        Rite Aid Store                       Medicaid Price                Rx Savings Price

        4612 Woodward Ave.                   $27.99                        $8.99
        Detroit, MI.

        120.   During the week of April 18, 2011, a Rite Aid pharmacy in Salem, IN, charged

 the following amounts for five ml. of Ciprofloxacin 0.3 Opthalmic solution:

        Medication: Ciprofloxacin 0.3 Opth Sol, Quantity: 5 ml

        Rite Aid Store                       Medicaid Price                Rx Savings Price

        803 S. Main Street                   $57.99                        $8.99
        Salem, IN.

        121.   During the week of April 18, 2011, a Rite Aid pharmacy in Salem, IN, charged

 the following amounts for 30 grams of Clotrimazole-betamethasone cream:

        Medication: Clotrimazole-betamethasone cream, Quantity: 30 gm

        Rite Aid Store                       Medicaid Price                Rx Savings Price

        803 S. Main Street                   $59.99                        $8.99
        Salem, IN.

        122.   During the week of April 18, 2011, a Rite Aid pharmacy in South Boston, MA,

 charged the following amounts for 30 grams of Econazole nitrate 1% cream:

        Medication: Econazole nitrate 1% cream, Quantity: 30 gm

        Rite Aid Store                       Medicaid Price                Rx Savings Price




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        710 E. Broadway                      $37.99                       $8.99
        South Boston, MA.

        123.   During the week of April 18, 2011, a Rite Aid pharmacy in South Boston, MA,

 charged the following amounts for 30 grams of Lidocaine/Prilocain Cream 2.5%:

        Medication: Lidocaine/Prilocain Cream 2.5%, Quantity: 30 gm

        Rite Aid Store                       Medicaid Price               Rx Savings Price

        710 E. Broadway                      $56.99                       $8.99
        South Boston, MA.

        124.   During the week of April 18, 2011, a Rite Aid pharmacy in Concord, NH, charged

 the following amounts for 30 Lovastatin tablets in a dosage of 40 mg.:

        Medication: Lovastatin 40 mg. tablets, Quantity: 30

        Rite Aid Store                       Medicaid Price               Rx Savings Price

        92 South Street                      $66.99                       $8.99
        Concord, NH.

        125.   During the week of April 18, 2011, a Rite Aid pharmacy in Concord, NH, charged

 the following amounts for 30 grams of Mometasone Furoate 0.1% ointment:

        Medication: Mometasone Furoate 0.1% ointment, Quantity: 30 gm

        Rite Aid Store                       Medicaid Price               Rx Savings Price

        92 South Street                      $77.99                       $8.99
        Concord, NH.

        126.   During the week of April 18, 2011, a Rite Aid pharmacy in Providence, RI,

 charged the following amounts for 30 grams of Mometasone Furoate 0.1% ointment:

        Medication: Mometasone Furoate 0.1% Ointment, Quantity: 30 gm

        Rite Aid Store                       Medicaid Price               Rx Savings Price

        711 Broad Street                     $72.99                       $8.99
        Providence, RI.



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        127.    During the week of April 18, 2011, a Rite Aid pharmacy in Providence, RI,

 charged the following amounts for 30 Spironolactone tablets in a dosage of 50 mg.:

        Medication: Spironolactone 50 mg tablets, Quantity: 30

        Rite Aid Store                        Medicaid Price                Rx Savings Price

        711 Broad Street                      $35.99                        $8.99
        Providence, RI.

            ADDITIONAL REPRESENTATIVE FALSE CLAIMS TO GOVERNMENT
                            HEALTH PROGRAMS

        128.    The following representative false claims, as well as the additional false claims

 reflected in Exhibits B, C, D, and E, like the Rite Aid receipts discussed above, are records of

 claims actually submitted to government health programs. The claim information comes from

 either Rite Aid or the government health plan and, in all instances, was voluntarily provided to

 Relator, sometimes by the beneficiary and sometimes by the government payer itself.

 Massachusetts Medicaid

        129.    The Massachusetts Medicaid program has required pharmacies to charge

 Medicaid their “usual and customary charge,” defined as “the lowest price that a pharmacy

 charges or accepts from any payer for the same quantity of a drug on the same date of service, in

 Massachusetts, including but not limited to the shelf price, sale price, or advertised price of an

 over-the-counter drug.” Provider Manual Series, Pharmacy Manual (September 15, 2008), p. 4-

 3, available at http://www.mass.gov/eohhs/docs/masshealth/regs-provider/regs-pharmacy.pdf

 (accessed June 18, 2016).

        130.    Submitting a false claim to a state Medicaid program is a violation of the False

 Claims Act. The False Claims Act imposes liability on anyone who, inter alia, “knowingly

 presents, or causes to be presented, a false or fraudulent claim for payment or approval” or



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 “knowingly makes, uses, or causes to be made or used, a false record or statement material to a

 false or fraudulent claim.” 31 U.S.C. § 3729(a)(1)(A)-(B) (post-2009 amendments). A “claim”

 means a request or demand for payment either submitted directly to the United States or to a

 “contractor, grantee, or other recipient” of federal money as long as the money is “to be spent or

 used . . . to advance a Government program or interest” and if the United States has either

 provided or will reimburse “any portion” of the money. Id. § 3729(b)(2). A state Medicaid

 program is a “contractor, grantee, or other recipient” of federal money under the False Claims

 Act.

        131.    As part of its scheme, Rite Aid repeatedly submitted false claims to

 Massachusetts Medicaid seeking payment of amounts far above the Usual and Customary prices

 it was offering to the cash-paying public, and falsely representing that these charges were its

 U&C charges. For example:

                 a)    On February 3, 2010, Rite Aid Pharmacy #10213, located at 510 Wilbur

                        Avenue, Swansea, Massachusetts 02777, filled a prescription for a 30-day

                        supply of Lovastatin 40 mg tablets (Claim Number 251003457908, NDC

                        00378654091) on behalf of a customer insured by Massachusetts

                        Medicaid. Rite Aid submitted a claim to Massachusetts Medicaid for this

                        prescription with a $69.99 charge to the third-party payer (Massachusetts

                        Medicaid) and falsely represented that this charge was its U&C. The

                        Massachusetts Medicaid program required pharmacies to charge

                        Medicaid their “usual and customary charge.” At that time, Rite Aid

                        charged members of the cash-paying public just $8.99 for the same 30-

                        day supply of Lovastatin 40 mg tablets through its Rx Savings Program.




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                        Rite Aid should have billed Massachusetts Medicaid the same discounted

                        price.

                 b)    On August 6, 2011, Rite Aid Pharmacy #10187, located at 520 Main

                        Street, Falmouth, Massachusetts 02540, filled a prescription for a 30-day

                        supply of Paroxetine HCL 40 mg tablets (Claim Number 251121854454,

                        NDC 00093712198) on behalf of a customer insured by Massachusetts

                        Medicaid. Rite Aid submitted a claim with a $76.13 charge to the third-

                        party payer (Massachusetts Medicaid) and falsely represented that this

                        charge was its U&C. The Massachusetts Medicaid program required

                        pharmacies to charge Medicaid their “usual and customary charge.” At

                        that time, Rite Aid charged members of the cash-paying public just $8.99

                        for the same 30-day supply of Paroxetine HCL 40 mg tablets through its

                        Rx Savings Program. Rite Aid should have billed Massachusetts

                        Medicaid the same discounted price.

        132.    Additional examples of false claims Rite Aid actually submitted to Massachusetts

 Medicaid are attached hereto as Exhibit B.

 New York Medicaid

        133.    The State of New York’s Medicaid program has stated that it would not reimburse

 an amount greater than a pharmacy’s “usual and customary charge to the general public.”

 www.health.state.ny.us/health_care/medicaid/program/docs/pharmacyreimbursement. Pharmacy

 providers have been instructed to enter their “usual and customary charge” in the “charge” field

 of the claim form used to bill Medicaid.




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        134.   As part of its scheme, Rite Aid repeatedly submitted false claims to New York

 Medicaid for prices far above the Usual and Customary prices it was offering to the cash-paying

 public, falsely representing that these charges were its U&C charges. For example:

                a)     On August 22, 2011, Rite Aid of New York #03363, located at 650 Castle

                        Hill Avenue, Bronx, New York 10473, filled a prescription for a 30-day

                        supply   of   Glipizide    XL     10        mg    tablets   (Claim   Number

                        1123400047767501, NDC 59762503301) on behalf of a customer insured

                        by New York Medicaid. Rite Aid submitted a claim with a $28.99

                        charge to the third-party payer (New York Medicaid) and falsely

                        represented that this charge was its U&C. The New York Medicaid

                        program required pharmacies to charge Medicaid their “usual and

                        customary charge to the general public.” At the time, Rite Aid charged

                        members of the cash-paying public $8.99 for the same 30-day supply of

                        Glipizide XL 10 mg tablets through its Rx Savings Program. Rite Aid

                        should have billed New York Medicaid the same discounted price.

                b)     On May 18, 2012, Rite Aid of New York Inc. #00597, located at 40

                        Vassar Road, Poughkeepsie, New York 12603, filled a prescription for a

                        30-day supply of      Tamoxifen        20    mg tablets     (Claim   Number

                        1213900050644101, NDC 00093078256) on behalf of a customer insured

                        by New York Medicaid. Rite Aid submitted a claim with a $82.99

                        charge to the third-party payer (New York Medicaid) and falsely

                        represented that this charge was its U&C. The New York Medicaid

                        program required pharmacies to charge Medicaid their “usual and




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                        customary charge to the general public.” At the time, Rite Aid charged

                        members of the cash-paying public $8.99 for the same 30-day supply of

                        Tamoxifen 20 mg tablets through its Rx Savings Program. Rite Aid

                        should have billed New York Medicaid the same discounted price.

        135.    Additional examples of false claims Rite Aid actually submitted to New York are

 attached hereto as Exhibit C.

 Michigan Medicaid

        136.    The State of Michigan’s Medicaid Program has made explicit that the “usual and

 customary charge” must include “advertised discounts, special promotions, or other programs to

 initiate reduced prices made available to the general public or a similar portion of the

 population.” Medicaid Provider Manual, General Information for Providers (January 1, 2011),

 Section 12.2, p. 35, available at http://www.mdch.state.mis.us/dch-medicaid/manuals/Medicaid

 ProviderManual.pdf (accessed June 18, 2016).

        137.    As part of its scheme, Rite Aid repeatedly submitted false claims to Michigan

 Medicaid for prices far above the Usual and Customary prices it was offering to the cash-paying

 public, falsely representing that these charges were its U&C charges. For example:

                 a)    On February 27, 2009, Rite Aid #04236, located at 11 South 11th Street,

                        Niles, Michigan 49120, filled a prescription for a 30-day supply of

                        Tamoxifen 20 mg tablets (Claim Number P60905810845025000, NDC

                        00093078256) on behalf of a customer insured by Michigan Medicaid.

                        Rite Aid submitted a claim with a $116.27 charge to the third-party payer

                        (Michigan Medicaid) and falsely represented that this charge was its

                        U&C. The Michigan Medicaid program required pharmacies to charge




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                         Medicaid their “usual and customary charge.” At the time, Rite Aid

                         charged members of the cash-paying public $8.99 for the same 30-day

                         supply of Tamoxifen 20 mg tablets through its Rx Savings Program. Rite

                         Aid should have billed Michigan Medicaid the same discounted price.

                 b)     On July 26, 2012, Rite Aid #03497, located at 15242 North Holly Road,

                         Holly, Michigan 48442, filled a prescription for a 30-day supply of

                         Fluoxetine HCL 40 mg capsules (Claim Number P61220810008235000,

                         NDC 00093719856) on behalf of a customer insured by Michigan

                         Medicaid. Rite Aid submitted a claim with a $162.84 charge to the third-

                         party payer (Michigan Medicaid) and falsely represented that this charge

                         was its U&C. The Michigan Medicaid program required pharmacies to

                         charge Medicaid their “usual and customary charge.” At the time, Rite

                         Aid charged members of the cash-paying public $9.99 for the same 30-

                         day supply of Fluoxetine HCL 40 mg capsules through its Rx Savings

                         Program.   Rite Aid should have billed Michigan Medicaid the same

                         discounted price.

        138.    Additional examples of false claims Rite Aid actually submitted to Michigan

 Medicaid are attached hereto as Exhibit D.

 Indiana Medicaid

        139.    Indiana’s Medicaid regulations specifically limit the reimbursement to pharmacies

 to no more than “[t]he provider’s submitted charge, representing the provider’s usual and

 customary charge for the drug, as of the date of dispensing.” 405 IAC 5-24-4(a)(3) (2016)

 (effective July 25, 1997).




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        140.     In Indiana, the state Medicaid agency has specified that a pharmacy’s usual and

 customary charge to the general public must include “any special pricing (for example, $4

 generic programs) for the covered service.”      Indiana Health Coverage Programs Provider

 Reference     Module,   Pharmacy    Services   (February   25,   2016),   p.   12,   available   at

 http://provider.indianamedicaid.com/media/155565/pharmacy%20services.pdf (accessed June

 18, 2016).

        141.     As part of its scheme, Rite Aid repeatedly submitted false claims to Indiana

 Medicaid for prices far above the Usual and Customary prices it was offering to the cash-paying

 public, falsely representing that these charges were its U&C charges. For example:

                 a)      On September 20, 2013, Rite Aid #04654, located at 7505 State Route

                         311, Sellersburg, Indiana 47172, filled a prescription for a 30-day supply

                         of Tamoxifen 20 mg tablets (Claim Number 132632920266003, NDC

                         00093078256) on behalf of a customer insured by Indiana Medicaid.

                         Rite Aid submitted a claim with a $115.67 charge to the third-party payer

                         (Indiana Medicaid) and falsely represented that this charge was its U&C.

                         The Indiana Medicaid program required pharmacies to charge Medicaid

                         their “usual and customary charge.”      At the time, Rite Aid charged

                         members of the cash-paying public $9.99 for the same 30-day supply of

                         Tamoxifen 20 mg tablets through its Rx Savings Program. Rite Aid

                         should have billed Indiana Medicaid the same discounted price.

                 b)      On December 31, 2013, Rite Aid #03530, located at 803 S. Main Street,

                         Salem, Indiana 47167, filled a prescription for a 30-day supply of

                         Pravastatin Sodium 40 mg tablets (Claim Number 133653149693002,




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                        NDC 00093720298) on behalf of a customer insured by Indiana

                        Medicaid. Rite Aid submitted a claim with a $145.73 charge to the third-

                        party payer (Indiana Medicaid) and falsely represented that this charge

                        was its U&C. The Indiana Medicaid program required pharmacies to

                        charge Medicaid their “usual and customary charge.” At the time, Rite

                        Aid charged members of the cash-paying public $9.99 for the same 30-

                        day supply of Pravastatin Sodium 40 mg tablets through its Rx Savings

                        Program.     Rite Aid should have billed Indiana Medicaid the same

                        discounted price.

 Other State Medicaid False Claims

        142.    Additional examples of false claims Rite Aid actually submitted to California

 Medi-Cal, Colorado Medicaid, Connecticut Medicaid, Delaware Medicaid, Georgia Medicaid,

 Indiana Medicaid, Maryland Medicaid, Michigan Medicaid, New Jersey Medicaid, North

 Carolina Medicaid, Rhode Island Medicaid, Tennessee Medicaid, Vermont Medicaid, Virginia

 Medicaid, and Washington Medicaid, are attached hereto as Exhibit D.

 Medicare Part D False Claims

        143.    As explained above, to submit claims for drugs dispensed to Medicare enrollees

 under Medicare Part D, pharmacies typically contract with a Part D Sponsor. A pharmacy that

 enters one of these contracts is known as a “network pharmacy.” See 42 C.F.R. § 423.100

 (defining “network pharmacy”). When entering into these contracts, Part D Sponsors negotiate

 the prices that network pharmacies will be paid for covered drugs dispensed to their enrollees.

 See id. (defining “negotiated price” as the price that “[t]he Part D sponsor (or other intermediary

 contracting organization) and the network dispensing pharmacy or other network dispensing




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 provider have negotiated as the amount such network entity will receive, in total, for a particular

 drug”). When negotiating contracts with network pharmacies to provide Part D prescription drug

 benefits, Part D Sponsors, or the PBMs on contract with Part D Sponsors (collectively referred to

 herein as “Part D Sponsors”), typically require the inclusion of U&C clauses that: i) require

 network pharmacies to charge the Part D sponsor their U&C charge, including all available

 discounts, and, ii) cap the payment to the pharmacies (including the co-pay borne by the

 beneficiary) at the U&C charge.

        144.    Submitting a false claim to a Medicare Part D Sponsor is a violation of the False

 Claims Act. The False Claims Act imposes liability on anyone who, inter alia, “knowingly

 presents, or causes to be presented, a false or fraudulent claim for payment or approval” or

 “knowingly makes, uses, or causes to be made or used, a false record or statement material to a

 false or fraudulent claim.” 31 U.S.C. § 3729(a)(1)(A)-(B) (post-2009 amendments). A “claim”

 means a request or demand for payment either submitted directly to the United States or to a

 “contractor, grantee, or other recipient” of federal money as long as the money is “to be spent or

 used . . . to advance a Government program or interest” and if the United States has either

 provided or will reimburse “any portion” of the money. Id. § 3729(b)(2). A Part D Sponsor is a

 “contractor, grantee, or other recipient” of federal money under the False Claims Act.

        145.    Through the operation of the dispensing and billing software programmed by Rite

 Aid’s corporate headquarters, Rite Aid routinely submitted claims to Part D Sponsors falsely

 representing that it was billing its U&C when in fact its U&C price, as offered in its Rx Savings

 Program, were much lower. For each sample claim listed below, Rite Aid was in the Part D

 plan’s pharmacy network. For example:




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              a)   On May 5, 2016, the Rite Aid (#04375) located at 23201 Marter Road, St.

                    Clair Shore, Michigan 48080, filled a prescription for a 30-day supply for

                    Timolol 0.5% eye drops (RX# 043752040518) on behalf of a customer

                    insured by Medicare Part D. The beneficiary’s receipt for this transaction

                    reflects that Rite Aid submitted a claim for $19.99 to the Catamaran Part

                    D plan for this prescription, representing that this charge was its U&C.

                    Catamaran defines the U&C price as the price charged by the pharmacy

                    to the general public at the time of dispensing for the same prescription

                    “including all applicable customer discounts, such as advertised or sale

                    prices, special customer, senior citizen, frequent shopper, coupons or

                    other discounts, a cash paying customer pays [the pharmacy].” At the

                    time, Rite Aid charged Rx Savings Program members $9.99 for the same

                    supply. Rite Aid should have billed Catamaran the same discounted

                    price.

              b)   On June 24, 2016, the Rite Aid (#07205) located at 7570 W. Farmington

                    Avenue, Germantown, Tennessee 38138, filled a prescription for 90

                    tablets of Levothyroxine 75 mg (Rx# 072051547120) on behalf of a

                    customer insured by Medicare Part D. The beneficiary’s receipt for this

                    transaction reflects that Rite Aid submitted a claim for $62.99 to the

                    Humana Part D plan for this prescription, representing that this charge

                    was its U&C. Humana defines the U&C price as the price a pharmacy

                    has established for an uninsured, walk-in retail customer and expects

                    pharmacies to submit the same U&C charge for Humana beneficiaries as




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                        they do all other pharmacy customers. At the time, Rite Aid charged Rx

                        Savings Program members $15.99 for the same 90 tablets of

                        Levothyroxine 75 mg. Rite Aid should have billed Humana and the

                        beneficiary the same discounted price.

        146.   When Rite Aid (or any other pharmacy) submits a claim for payment to a Part D

 Sponsor, the amount paid by the insurance plan is relayed to the beneficiary through an

 Explanation of Benefits (“EOB”) form—the same type of document most Americans receive

 from their health insurers after using their benefits. CMS requires that the EOB include at the

 very least the total amount that was paid for the prescription drug, broken out by the amount the

 Part D Sponsor paid and the amount the beneficiary paid.

                a)     On July 9, 2015, the Rite Aid (#04029) located at 3001 E. 10th Street,

                        Jeffersonville, Indiana 47130, filled a prescription for a 30-day supply of

                        Baclofen 10 mg (Claim number# 355903499391) on behalf of a customer

                        insured by Medicare Part D. As demonstrated by the beneficiary’s EOB

                        from the Humana Part D plan, Humana paid Rite Aid $17.80 for the

                        prescription and the beneficiary paid $3.00. Since this Humana Part D

                        plan caps its payment at a pharmacy’s U&C, this means that Rite Aid

                        submitted a claim for at least $20.80 to Humana, the Part D Plan Sponsor,

                        for this prescription. At the time, Rite Aid charged Rx Savings Program

                        members $9.99 for the same 30-day supply of Baclofen 10 mg. Rite Aid

                        should have billed Humana and the beneficiary the same discounted

                        price.




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              b)   On August 8, 2015, the Rite Aid (#04029) located at 3001 E. 10th Street,

                    Jeffersonville, Indiana 47130, filled a prescription for a 30-day supply of

                    Baclofen 10 mg (Claim number# 156209174011) on behalf of a customer

                    insured by Medicare Part D. As demonstrated by the beneficiary’s EOB

                    from the Humana Part D plan, Humana paid Rite Aid $17.80 for the

                    prescription and the beneficiary paid $3.00. Since this Humana Part D

                    plan caps its payment at a pharmacy’s U&C, this means that Rite Aid

                    submitted a claim for at least $20.80 to Humana, the Part D Plan Sponsor,

                    for this prescription. At the time, Rite Aid charged Rx Savings Program

                    members $9.99 for the same 30-day supply of Baclofen 10 mg. Rite Aid

                    should have billed Humana and the beneficiary the same discounted

                    price.

              c)   On November 25, 2016, the Rite Aid (#07205) located at 7570 W.

                    Farmington Avenue, Germantown, Tennessee 38138, filled a prescription

                    for 90 tablets of Simvastatin 20 mg tablets (Rx# 000001551651) on

                    behalf of a customer insured by Medicare Part D. As demonstrated by

                    the beneficiary’s EOB, Blue Cross and Blue Shield of Tennessee’s Part D

                    plan paid Rite Aid $22.50 for the prescription and the beneficiary paid

                    $7.50. Since this Blue Cross and Blue Shield of Tennessee Part D plan,

                    which is administered by Express Scripts, caps its payment at a

                    pharmacy’s U&C, this means that Rite Aid submitted a claim for at least

                    $30.00 to Blue Cross and Blue Shield of Tennessee, the Part D Plan

                    Sponsor, for this prescription. At the time, Rite Aid charged Rx Savings




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                        Program members $15.99 for the same 90 tablets of Simvastatin 20 mg.

                        Rite Aid should have billed Blue Cross and Blue Shield of Tennessee the

                        same discounted price.

        147.    Additional examples of false claims Rite Aid actually submitted to Part D

 sponsors for covered Part D prescriptions are attached hereto as Exhibit E.

 TRICARE False Claims

        148.    The following representative false claim comes from the TRICARE PBM’s

 records of claims actually submitted to the PBM.

        149.    On August 16, 2016, the Rite Aid (#7205) located at 7570 W. Farmington

 Avenue, Germantown, Tennessee 38138, filled a prescription for a 30 tablets of Levothyroxine

 88 mg (Rx# 000001546910) on behalf of a customer insured by TRICARE. Rite Aid actually

 submitted a claim for $17.07 to Express Scripts, the TRICARE PBM. Express Scripts required

 pharmacies to charge TRICARE their “usual and customary retail price,” including any

 discounts. At the time, Rite Aid charged Rx Savings Program members $9.99 for the same 30

 tablets of Levothyroxine 88 mg.       Rite Aid should have billed Express Scripts the same

 discounted price.

                                        FALSE CLAIMS

        150.    Through the foregoing conduct, the Defendant knowingly has submitted claims to

 Medicare Part D sponsors, TRICARE, and state Medicaid programs that are materially false

 because they misrepresent Defendant’s “usual and customary charge” to the general public. A

 correct representation of a pharmacy’s “usual and customary charge” on the claim form is

 material to the payment decisions of the federal-state Medicaid programs of the plaintiff states

 because these government health programs do not pay any more than this amount, as set forth in




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 their statutes, regulations and program instructions, and the price of a good or service goes to the

 heart of the bargain between the parties in any priced transaction.           Likewise, a correct

 representation of a pharmacy’s “usual and customary charge” on a claim form submitted to a

 Medicare Part D sponsor is material to that program’s payment decisions in all instances in

 which the contract between the sponsor and the pharmacy sets pricing based on the pharmacy’s

 “usual and customary charge,” because the price of a good or service goes to the heart of the

 bargain between the parties in any priced transaction. Pursuant to the FCA, a claim to an entity

 such as a Part D sponsor that expends funds to further government purposes and is reimbursed

 for such expenditures in whole or in part with federal funds is subject to the FCA. See 31 U.S.C.

 § 3729(b)(2) (definition of “claim” subject to FCA). Moreover, CMS relies upon the Part D

 sponsors to negotiate competitive prices and requires the sponsor to make such prices

 consistently available to Medicare Part D beneficiaries. Likewise, a correct representation of a

 pharmacy’s “usual and customary charge” on the claim form is material to the payment decisions

 of the TRICARE program because it is not willing to pay any more than this amount, as set forth

 in its program instructions, and the price of a good or service goes to the heart of the bargain

 between the parties in any priced transaction. These false claims have caused Medicare Part D,

 TRICARE, and the federal-state Medicaid program, in each state in which Rite Aid does

 business, as well as other federal and state programs, to pay excessive amounts for many of the

 generic medications listed on the Rx Savings Program brochures in Exhibit A.

                              FAILURE TO REFUND OVERPAYMENTS

        151.    Through the foregoing conduct, the Defendant knowingly has avoided an

 obligation to repay funds owed the United States and the state Plaintiffs by improperly failing to

 disclose and return overpayments.




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        152.    The federal False Claims Act, as amended in June 2009, imposes liability on

 anyone who, inter alia, “knowingly and improperly avoids . . . an obligation to pay or transmit

 money or property to the Government.” 31 U.S.C. § 3729(a)(1)(G). The statute defines the term

 “obligation” to mean “an established duty, whether or not fixed, arising from an express or

 implied contractual, grantor-grantee, or licensor-licensee relationship, from a fee-based or

 similar relationship, from statute or regulation, or from the retention of any overpayment.” 31

 U.S.C. § 3729(b)(3).    The false claims laws of the plaintiff states contain analogous provisions.

        153.     The Social Security Act imposes an affirmative duty on health care providers

 who bill Medicare or Medicaid to disclose any Medicare or Medicaid overpayments they identify

 to the government health care program within 60 days of discovery, or, in the case of providers

 who submit cost reports (pharmacies to not do so), by the deadline for submission of their cost

 report. 42 U.S.C. § 1320a-7k(d). This statute expressly states that the duty it imposes is an

 obligation as that term is used in Section 3729(b)(3) of the federal False Claims Act. Id. (d)(3).

                                                DAMAGES

        154.    The United States and the state Plaintiffs have been damaged by the difference

 between their payments to Rite Aid for the 500 generic medications that are part of the Rx

 Savings Program and Rite Aid’s Rx Savings Program prices for the medications.

                                                 COUNT I

                              (Federal False Claims Act, 31 U.S.C. § 3729(a))

        155.    This is a civil action by Plaintiff Azam Rahimi, acting on behalf of and in the

 name of the United States, against the Defendant under the False Claims Act.

        156.    Plaintiff realleges and incorporates by reference paragraphs 1 through 154 as

 though fully set forth herein.




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        157.    The Defendant knowingly has presented or has caused to be presented false or

 fraudulent claims for payment, in violation of 31 U.S.C. § 3729(a)(1)(A) (post-May 2009

 amendment) and 31 U.S.C. § 3729(a)(1) (pre-May 2009 amendment).

        158.    The Defendant knowingly has made or used, or caused to be made or used, false

 records or statements material to a false or fraudulent claim, in violation of 31 U.S.C.

 § 3729(a)(1)(B) (post-May 2009 amendment) and 31 U.S.C. § 3729(a)(2) (pre-May 2009

 amendment).

        159.    The Defendant has knowingly and improperly avoided obligations to pay or

 transmit money to the Government, in violation of 31 U.S.C. § 3729 (a)(1)(G) (2009).

        160.    Because of the Defendant’s conduct set forth in this Count, the United States has

 suffered actual damages in the hundreds of millions of dollars, with the exact amount to be

 determined at trial.

                                              COUNT TWO

                        (California False Claims Law, Cal. Gov. Code § 12650 et seq.)

        161.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        162.    Based on the foregoing allegations, the Defendant is liable under Cal. Gov. Code

 § 12650 et seq.

                                             COUNT THREE

           (Colorado Medicaid False Claims Act, Col. Rev. Stat. § 25.5-4-303.5 et seq. (2010))

        163.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        164.    Based on the foregoing allegations, the Defendant is liable under Col. Rev. Stat.

 § 25.5-4-303.5 et seq. (2010).




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                                               COUNT FOUR

                                 (Connecticut Gen. Stat. § 17b-301b (2010))

        165.      Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        166.      Based on the foregoing allegations, the Defendant is liable under Conn. Gen. Stat.

 § 17b-301b (2010).

                                                COUNT FIVE

                   (Delaware False Claims and Reporting Act, 6 Del. Code § 1201 et seq.)

        167.      Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        168.      Based on the foregoing allegations, the Defendant is liable under 6 Del. Code

 § 1201 et seq.

                                                 COUNT SIX

                    (District of Columbia False Claims Act, D.C. Code § 2-381.01 et seq.)

        169.      Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        170.      Based on the foregoing allegations, the Defendant is liable under D.C. Code § 2-

 381.01 et seq.

                                               COUNT SEVEN

            (Georgia State False Medicaid Claims Act, Georgia Code, Title 49, Ch. 4, Art. 7B)

        171.      Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        172.      Based on the foregoing allegations, the Defendant is liable under the Georgia

 State False Medicaid Claims Act, Georgia Code, Title 49, Ch. 4, Art. 7B.




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                                             COUNT EIGHT

         (Indiana False Claims & Whistleblower Protection Law, Ind. Code § 5-11-5.5.-1 et seq.

                                              (2005))

        173.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        174.    Based on the foregoing allegations, the Defendant is liable under the Indiana

 False Claims & Whistleblower Protection Law, Ind. Code § 5-11-5.5-1 et seq.

                                              COUNT NINE

           (Louisiana’s Medical Asst. Programs Integrity Law, La. Rev. Stat. §46:437.1 et seq.)

        175.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        176.    Based on the foregoing allegations, the Defendant is liable under La. Rev. Stat.

 § 46:437.1 et seq.

                                               COUNT TEN

                        (Massachusetts False Claims Law, ALM Ch. 12 § 5A-0 et seq.)

        177.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        178.    Based on the foregoing allegations, the Defendant is liable under the

 Massachusetts False Claims Law, ALM Ch. 12 § 5A-0 et seq.

                                            COUNT ELEVEN

                      (Michigan Medicaid False Claims Act, Mich. Code 400.601 et seq.)

        179.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        180.    Based on the foregoing allegations, the Defendant is liable under the Michigan

 Medicaid False Claims Act, Mich. Code 400.601 et seq.




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                                            COUNT TWELVE

                       (Nevada’s False Claims Act, Nev. Rev. Stat. § 357.010 et seq.)

        181.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        182.    Based on the foregoing allegations, the Defendant is liable under Nev. Rev. Stat.

 § 357.010 et seq.

                                           COUNT THIRTEEN

                     (New Jersey False Claims Act, N.J. Stat. § 2A:32C-1 et seq. (2008))

        183.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        184.    Based on the foregoing allegations, the Defendant is liable under N.J. Stat.

 § 2A:32C-1 et seq. (2008).

                                           COUNT FOURTEEN

                            (New York False Claims Act, NY Fin. Law, Art. 13)

        185.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        186.    Based on the foregoing allegations, the Defendant is liable under the New York

 False Claims Act, NY Fin. Law, Art. 13.

                                            COUNT FIFTEEN

               (North Carolina’s False Claims Act, N.C. Gen. Stat. § 1-605 et seq. (2010))

        187.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        188.    Based on the foregoing allegations, the Defendant is liable under N.C. Gen. Stat.

 § 1-605 et seq. (2010).

                                            COUNT SIXTEEN

                 (Rhode Island False Claims Act, R.I. Gen. Laws § 9-1.1-1 et seq. (2010))

        189.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.




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        190.    Based on the foregoing allegations, the Defendant is liable under the Rhode Island

 False Claims Act, R.I. Gen. Laws § 9-1.1-1 et seq. (2010).

                                         COUNT SEVENTEEN

                 (Tennessee Medicaid False Claims Act, Tenn. Code § 71-5-181 et seq.)

        191.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        192.    Based on the foregoing allegations, the Defendant is liable under Tenn. Code

 § 71-5-181 et seq.

                                          COUNT EIGHTEEN

                  (Virginia Fraud Against Taxpayers Act, Va. Code § 8.01-216.1 et seq.)

        193.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        194.    Based on the foregoing allegations, the Defendant is liable under Va. Code

 § 8.01-216.1 et seq.

                                          COUNT NINETEEN

        (Washington’s Medicaid Fraud False Claims Act, Wash. Code §74.66.005 et seq. (2012))

        195.    Plaintiff re-alleges Paragraphs 1 through 154, inclusive.

        196.    Based on the foregoing allegations, the Defendant is liable under Wash. Code

 § 74.66.005 et seq.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Azam Rahimi prays for the following relief:

        197.    On Counts One through Nineteen, judgment for the United States or the State, as

 applicable, against the Defendant in an amount equal to three times the damages the federal or

 state plaintiff government, respectively, has sustained because of the Defendant’s actions, plus a

 civil penalty for each violation at the maximum rate specified by law;




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         198.    On Counts One through Nineteen, an award to the Relator of the maximum

 allowed under the federal or state law under which suit is brought by the Relator on behalf of the

 federal or state plaintiff, respectively;

         199.    Against the Defendant, attorneys’ fees, expenses and costs of suit; and

         200.    Such other and further relief as the Court deems just and proper.



                                        DEMAND FOR JURY TRIAL

         Plaintiff hereby demands that this matter be tried before a jury.



                                               Respectfully submitted,


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                                             Attorneys for Azam Rahimi

 Dated: May 11, 2018



                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 11th day of May, 2018, I caused the aforesaid Relator’s

  Third Amended Complaint to be served by filing it in the ECF system and by mailing copies

  thereof by first-class mail, postage prepaid, addressed to Defendant Rite Aid Corporation and to

  all Government counsel.


                                                      /s/ William Christopher Carmody
                                                      William Christopher Carmody




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